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             XHIBIT D
           EXHIBIT
        Case 4:22-cv-03359 Document 97-4 Filed on 11/03/23 in TXSD Page 2 of 65




                                                       S&   cott Stephen
                                                                          Inc. 1.-7
                                                            & Associates, Inc.       S
                                                         An Appraisal Report of the
                                                          25.132 Acre Tract of Vacant Land
                                                                             Located along
                                                  The South Line of Mack Washington Lane
                                                   Hempstead, Waller County, Texas 77445

                                                                       File ID: 221202069




                                                                                        JpS




                                                       '40010P'''




                                                                                     FOR
                                                                         Appraisal MC
                                                                    320 Detering, Ste. B
                                                                     Houston, TX 77007




                                                                                 As Is:
Scott Stephens                                                       December 28, 2022
& Associates, Inc.

15021 Bohemian Hall Rd.
Crosby, Texas 77532
713-451-3600
713-451-3300 Fax
                                                                              SSA Job No.:
www.scottsteohensandassociates.com
www.scottstephensandassociates.com                                            (2212-16490)
                                           1
           Case 4:22-cv-03359 Document 97-4 Filed on 11/03/23 in TXSD Page 3 of 65

                                      L<HMM LM>IA>GL & :LLH<B:M>L% BG<'
                                             Real Estate Appraisers —
                                                                    – Consultants
                                               Austin, San Antonio and South Texas
                                      Houston, Austin,
                                                15021 Bohemian Hall Road
                                                   Crosby,
                                                   Crosby, Texas 77532
                                                  Phone: (713) 451-3600
                                                   Fax: (713) 451-3300
                                             www.scottstephensandassociates.com


          Appraisal

    MAILAT-GRS .
                                                                                                        Ryan Dagiey,
                                                                                                              Dagley, MAI, President
Scott P. Stephens, MAI, Al-GRS,
                        AI-GRS, CEO                                                 Lt. Colonel (ReL)
                                                                                    LL          (Ret.) Terence J. O’Rourke, MAI, VP
                                                                                                                  O'Rourke, MA4  VP




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 Ahnlmhg% MQ 00))0

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 :l Bl market
 "As Is" fZkd^m value
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                      h_ the
                         ma^ _^^ lbfie^ estate
                             fee simple ^lmZm^ as
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 ghm [^ ik^l^gm hg ma^ ln[c^\m ikhi^kmr' AZsZk]hnl fZm^kbZel fZr Z__^\m ma^ oZen^ h_ ma^ ikhi^kmr'
 Ma^ oZen^ ^lmbfZm^] bl ik^]b\Zm^] hg ma^ Zllnfimbhg maZm ma^k^ bl ghm ln\a fZm^kbZe hg hk bg ma^
 ikhi^kmr maZm phne] \Znl^ Z ehll bg oZen^' Gh k^lihglb[bebmr bl Zllnf^] _hk ln\a \hg]bmbhgl hk _hk
 Zgr ^qi^kmbl^ hk ^g`bg^^kbg` dghpe^]`^ k^jnbk^] mh ]bl\ho^k ma^f' Ma^ \eb^gm bl nk`^] mh k^mZbg
 Zg ^qi^km bg mabl _b^e]% b_ ]^lbk^]'

      MA> HIBGBHG H? O:EN> LM:M>= :;HO>% :L P>EE :L >O>KR HMA>K
 >E>F>GM H? MABL :IIK:BL:E K>IHKM% BL JN:EB?B>= BG BML >GMBK>MR ;R MA>
 @>G>K:E :LLNFIMBHGL :G= EBFBMBG@ <HG=BMBHGL L>M ?HKMA BG :GHMA>K
 I:KM H? MABL K>IHKM :G= PAB<A :K> :G BGM>@K:E I:KM H? MA> K>IHKM'

 B \^kmb_r maZm% mh ma^ [^lm h_ fr dghpe^]`^ Zg] [^eb^_% ~

 1! *""         Ma^ lmZm^f^gml h_ _Z\m \hgmZbg^] bg mabl k^ihkm Zk^ mkn^ Zg] \hkk^\m'




                                                              2
            Case 4:22-cv-03359 Document 97-4 Filed on 11/03/23 in TXSD Page 4 of 65

=^\^f[^k ,)% +)++

! +"          Ma^ k^ihkm^] ZgZerl^l%% hibgbhgl%% Zg] \hg\enlbhgl Zk^ ebfbm^] hger [r ma^ k^ihkm^]
              Zllnfimbhgl Zg] ebfbmbg` \hg]bmbhgl%% Zg] Zk^ fr i^klhgZe%% bfiZkmbZe%% Zg] ng[bZl^]
              ikh_^llbhgZe ZgZerl^l%%hibgbhgl%%Zg] \hg\enlbhgl'

! ,"          B aZo^ gh ik^l^gm hk ikhli^\mbo^ bgm^k^lm bg ma^ ikhi^kmr maZm bl ma^ ln[c^\m h_ mabl k^ihkm%%
              Zg] B aZo^ gh i^klhgZe bgm^k^lm pbma k^li^\m mh ma^ iZkmb^l bgoheo^]'

! -"          B aZo^ gh [bZl pbma k^li^\m mh ma^ ikhi^kmr maZm bl ma^ ln[c^\m h_ mabl k^ihkm hk mh ma^ iZkmb^l
              bgoheo^] pbma mabl Zllb`gf^gm'

! ."          Fr ^g`Z`^f^gm bg mabl Zllb`gf^gm pZl ghm \hgmbg`^gm nihg ]^o^ehibg` hk k^ihkmbg`
              ik^]^m^kfbg^] k^lneml'

! /"          Fr \hfi^glZmbhg _hk \hfie^mbg` mabl Zllb`gf^gm pZl ghm \hgmbg`^gm nihg ma^
              ]^o^ehif^gm hk k^ihkmbg` h_ Z ik^]^m^kfbg^] oZen^ hk ]bk^\mbhg bg oZen^ maZm _Zohkl ma^
              \Znl^ h_ ma^ \eb^gm%%ma^ Zfhngm h_ ma^ oZen^ hibgbhg%%ma^ ZmmZbgf^gm h_ Z lmbineZm^] k^lnem%%
              hk ma^ h\\nkk^g\^ h_ Z ln[l^jn^gm ^o^gm ]bk^\mer k^eZm^] mh ma^ bgm^g]^] nl^ h_ mabl
              ZiikZblZe'

! 0"          Fr ZgZerl^l%% hibgbhgl%% Zg] \hg\enlbhgl p^k^ ]^o^ehi^]%% Zg] mabl k^ihkm aZl [^^g
              ik^iZk^]%%bg \hg_hkfbmr pbma ma^ Uniform Standards of
                                                                 of Professional Appraisal Practice.

! 1"          B \^kmb_r maZm% mh ma^ [^lm h_ fr dghpe^]`^ Zg] [^eb^_% ma^ k^ihkm^] ZgZerl^l% hibgbhgl% Zg]
              \hg\enlbhgl p^k^ ]^o^ehi^]% Zg] mabl k^ihkm aZl [^^g ik^iZk^]% bg \hg_hkfbmr pbma ma^
              Ngb_hkf LmZg]Zk]l h_ Ikh_^llbhgZe IkZ\mb\^% ma^ k^jnbk^f^gml h_ ma^ <h]^ h_ Ikh_^llbhgZe
              >mab\l Zg] ma^ LmZg]Zk]l h_ Ikh_^llbhgZe :iikZblZe IkZ\mb\^ h_ ma^ :iikZblZe Bglmbmnm^%%Zg]
              ma^ li^\b_b\ k^ihkmbg` k^jnbk^f^gml h_ ma^ \eb^gm'

! 2"          DZmb^ F\@bggbl Zg] DZbe^r @beebg`l%% :iikZblZe MkZbg^^ MQ&*,-,-)2% aZo^ fZ]^ Z
              i^klhgZe oblbm mh ma^ ikhi^kmr maZm bl ma^ ln[c^\m h_ mabl k^ihkm' L\hmm I' Lm^ia^gl%% F:B%%
              :B&@KL Zg] KrZg =Z`e^r% F:B aZo^ k^ob^p^] ma^ k^ihkm Zg] \hg\nk pbma ma^ ZgZerlbl
              Zg] \hg\enlbhgl'

! *)"         DZbe^r @beebg`l%% :iikZblZe MkZbg^^ MQ&   &*,-,-)2 aZl ikhob]^] lb`gb_b\Zgm ikh_^llbhgZe
       II



              ZllblmZg\^ mh ma^ i^klhgl lb`gbg` mabl k^ihkm'

!! **" It
              B \^kmb_r maZm ma^ nl^ h_ mabl k^ihkm bl ln[c^\m mh ma^ k^jnbk^f^gml h_ ma^ :iikZblZe Bglmbmnm^
              k^eZmbg` mh k^ob^p [r bml ]ner Znmahkbs^] k^ik^l^gmZmbo^l'

!! *+" It
              :l h_ ma^ ]Zm^ h_ mabl k^ihkm%%L\hmm I' Lm^ia^gl%% F:B%% :B&
                                                                         &@KL Zg] KrZg C' =Z`e^r%%F:B
              aZo^ \hfie^m^] ma^ k^jnbk^f^gml h_ ma^ \hgmbgnbg` ^]n\Zmbhg ikh`kZf h_ ma^ :iikZblZe
              Bglmbmnm^ Zg] ma^ LmZm^ h_ M^qZl' DZmb^ F\@bggbl aZl \hfie^m^] ma^ k^jnbk^f^gml h_ ma^
              \hgmbgnbg` ^]n\Zmbhg ikh`kZf h_ ma^ LmZm^ h_ M^qZl' DZbe^r @beebg`l%% :iikZblZe MkZbg^^
              MQ&&*,-,-)2 aZl \hfie^m^] ma^ k^jnbk^f^gml h_ ma^ \hgmbgnbg` ^]n\Zmbhg ikh`kZf h_ ma^
              LmZm^ h_ M^qZl'

! *,"         Ma^ ZiikZbl^k! l" aZo^ ghm i^k_hkf^] l^kob\^l Zl Zg ZiikZbl^k hk bg Zgr hma^k \ZiZ\bmr%
              k^`Zk]bg` ma^ ikhi^kmr maZm bl ma^ ln[c^\m h_ mabl k^ihkm pbmabg ma^ ik^obhnl mak^^ r^Zkl
              bff^]bZm^er ik^\^]bg` Z\\^imZg\^ h_ mabl Zllb`gf^gm'



                                                         3
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=^\^f[^k ,)% +)++


       Ma^ ZmmZ\a^] k^ihkm bl Zg ^qieZgZmbhg h_ ma^ ZgZerlbl Zg] k^Zlhgbg` nl^] mh ]^kbo^ Z
fZkd^m oZen^ ^lmbfZm^ _hk ma^ ln[c^\m' Ma^ Z[ho^ oZen^l Zk^ [Zl^] hg Z k^ZlhgZ[e^ ^qihlnk^
i^kbh] h_ *+ fhgmal'

        Ma^ ZiikZblZe pZl \hg]n\m^] lhe^er _hk ma^ gZf^] \eb^gm Zg] bl _hk ma^ bgm^kgZe nl^ h_ ma^
\eb^gm hger' B_ rhn aZo^ Zgr jn^lmbhgl% ie^Zl^ _^^e _k^^ mh \Zee'

                                                        Lbg\^k^er%
                                                        L\hmm Lm^ia^gl & :llh\bZm^l% Bg\'




[r L\hmm I' Lm^ia^gl%%F:B%%:B&
                             &@KL%%<>H                  [r KrZg C' =Z`e^r% F:B% Ik^lb]^gm
LmZm^ <^kmb_b^] @^g^kZe K> :iikZbl^k                    LmZm^ <^kmb_b^] @^g^kZe K> :iikZbl^k
<^kmb_b\Zm^ Gh' MQ&*,+)+/2&@                            <^<>H<kmb_b\Zm^ Gh' MQ&*,,.+)1&@

                                                         %tAty.x;i6kilL
               M
[r DZmb^ F\@bggbl% :llh\bZm^                            [r DZbe^r @beebg`l% :iikZbl^k MkZbg^^
LmZm^ <^kmb_b^] @^g^kZe K> :iikZbl^k                    <^kmb_b\Zm^ Gh' MQ&*,-,-)2
<^kmb_b\Zm^ Gh' MQ&*,1*)*+&@

LIL(KC=(DF(D@(k`




                                                4
   Case 4:22-cv-03359 Document 97-4 Filed on 11/03/23 in TXSD Page 6 of 65




                                >Q><NMBO> LNFF:KR


Eh\Zmbhg3                   Lhnma Ebg^ h_ FZ\d PZlabg`mhg EZg^%%A^film^Z]%%M^qZl 00--.


Ikhi^kmr Mri^3              OZ\Zgm EZg]


EZg] :k^Z3                  +.'*,+ Z\k^l hk *% )2-% 0.) ljnZk^ _^^m h_ eZg] [^bg` Ehm *%% <e^Zk
                            <k^^d =^o^ehif^gm% PZee^k <hngmr% M^qZl'


EZg] OZen^3                 +.'*,+ Z\k^l hk *%%)2-%%0.) ljnZk^ _^^m 9 $
                                                                      $*'). il_ ''''''' $
                                                                                        $*%%*-2%%-11


?bgZe OZen^ Hibgbhg3        $*%%*.)%%)))
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FZkd^mbg` I^kbh]3           *+ fhgmal


OZenZmbhg =Zm^3             =^\^f[^k +1%%+)++
=Zm^ h_ K^ihkm3             =^\^f[^k ,)%%+)++


:iikZbl^k3                  L\hmm I' Lm^ia^gl%%F:B%%:B&&@KL%%<>H
                            KrZg C' =Z`e^r%%F:B%%Ik^lb]^gm
                            DZmb^ F\@bggbl%%:llh\bZm^
                            DZbe^r @beebg`l%%MkZbg^^ :iikZbl^k
                            L\hmm Lm^ia^gl Zg] :llh\bZm^l%%Bg\'



:ee oZen^l lmZm^] Z[ho^ Zk^ ln[c^\m mh ma^ Zllnfimbhgl Zg] ebfbmbg` \hg]bmbhgl Zl l^m hnm bg
mabl gZkkZmbo^ ZiikZblZe'




                                               5
    Case 4:22-cv-03359 Document 97-4 Filed on 11/03/23 in TXSD Page 7 of 65


                                  M:;E> H? <HGM>GML

Mbme^ IZ`^                                                               *
E^mm^k h_ MkZglfbmmZe pbma <^kmb_b\Zm^                                   +
>q^\nmbo^ LnffZkr                                                        .
MZ[e^ h_ <hgm^gml                                                       /
:llnfimbhgl Zg] Ebfbmbg` <hg]bmbhgl                                     0
JnZeb_b\Zmbhgl h_ ma^ :iikZbl^kl                                        2
:k^Z FZi                                                               *1
Iahmhl h_ Ln[c^\m                                                      *2

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Ik^fbl^ h_ ma^ :iikZblZe                                               ++
G^b`a[hkahh] :gZerlbl                                                  ,)
Lbm^ =ZmZ Zg] :gZerlbl                                                 -)
:^kbZe Iahmh                                                           -*
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?ehh] FZi                                                              -.
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<hfiZkZ[e^ EZg] LZe^l FZi                                              .,
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                                         6
                                         6
    Case 4:22-cv-03359 Document 97-4 Filed on 11/03/23 in TXSD Page 8 of 65




                                  GENERAL ASSUMPTIONS


       No responsibility is assumed for the legal description provided or for matters pertaining
to legal or title considerations. Title to the property is assumed to be good and marketable unless
otherwise stated. The property is appraised free and clear of any or all liens or encumbrances
unless otherwise stated. Responsible ownership and competent management are assumed.
         The information furnished by others is believed to be reliable, but no warranty is given
for its accuracy. The appraisal will interpret the FEMA map in the report. However, the reader
is directed to the Caution Statement at the bottom of such map regarding the need to have the
property evaluated by a qualified civil engineer or specialist to determine the floodplain status of
the property. We are not experts in floodplain evaluation, nor is our interpretation warranted.
All engineering studies are assumed to be correct. The plot plans and illustrative material in this
report are included only to help the reader visualize the property. It is assumed that there are no
hidden or unapparent conditions of the property, subsoil, or structures that render it more or less
valuable. No responsibility is assumed for such conditions or for obtaining the engineering
studies that may be required to discover them. It is assumed that there is full compliance with all
applicable federal, state, and local environmental regulations and laws unless the lack of
compliance is stated, described, and considered in the appraisal report.
         It is assumed that the property conforms to all applicable zoning and use regulations and
restrictions unless a nonconformity has been identified, described and considered in the
appraisal.        It is assumed that all required licenses, certificates of occupancy, consents, and
other legislative or administrative authority from any local, state, or national governmental or
private entity or organization have been or can be obtained or renewed for any use on which the
value estimate contained in this report is based.
         It is assumed that the utilization of the land and improvements is confined within the
boundaries or property lines of the described property and that there is no encroachment or
trespass unless noted within the report.
         Unless otherwise stated in this report, the existence of hazardous materials or wetlands,
which may or may not be present on the property, was not observed by the appraiser. The
appraiser has no knowledge of the existence of such materials or condition on or in the property.
The appraiser, however, is not qualified to detect such substances or areas. The presence of
substances such as asbestos, urea-formaldehyde foam insulation, and other potentially hazardous
materials may affect the value of the property. The value estimated is predicated on the
assumptions that there is no such materials on or in the property that would cause a loss in value.
No responsibility is assumed for such conditions or for any expertise or engineering knowledge
required to discover them. The client is urged to retain an expert in this field, if desired.



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                                  LIMITING CONDITIONS

        The opinion of value and every other element of this appraisal report are qualified and
limited by all of the following conditions:

          6-.5 REPORT
       1. THIS 4*3246 WAS
                      8&5 PREPARED
                          34*3&4*) FOR
                                   +24 6-* .16*41&/ USE
                                       THE INTERNAL 75* OF
                                                        2+ 6-* (/.*16
                                                           THE CLIENT
&1) .16*1)*)
AND          75*4"5# NAMED
    INTENDED USER(S) 1&0*) WITHIN
                           8.6-.1 THIS
                                  6-.5 REPORT.
                                       4*3246% NO
                                               12 PERSON
                                                  3*4521 OR
                                                         24 *16.69
                                                            ENTITY
26-*4 MAN
OTHER 6-&1 6-* (/.*16 AND
           THE CLIENT &1) INTENDED
                          .16*1)*) USER(S)
                                   75*4"5# HAS
                                           -&5 ANY
                                               &19 RIGHT
                                                   4.,-6 OR
                                                         24 AUTHORITY
                                                            &76-24.69
62  4*/9 ON
TO RELY   21 6-.5   4*3246 OR
              THIS REPORT       24 ANYTHING
                                    &196-.1, CONTAINED
                                                  (216&.1*) IN   .1 .6  24 IMPLIED
                                                                     IT OR  .03/.*) FROM
                                                                                      +420 .6$
                                                                                             IT,
71/*55 OTHERWISE
UNLESS   26-*48.5* 56&6*)
                       STATED IN  .1 THE
                                     6-* BODY
                                          '2)9 OF 2+ 6-*    4*3246%
                                                      THE REPORT.
       2. The appraiser will not be required to give testimony or appear in court because of
having made this appraisal, with reference to the property in question, unless arrangements have
been previously made.
       3. The appraiser, by reason of this appraisal, is not required to give further consultation
or testimony or to be in attendance in court with reference to the property in question unless
arrangements have been previously made.
       4. The distribution of the total valuation in this report between land and improvements
applies only under the reported highest and best use of the property. The allocations of value for
land and improvements must not be used in conjunction with any other appraisal and are invalid
if so used.
        5. Neither all nor any part of the contents of this report, or copy thereof, shall be
conveyed to the public through advertising, public relations, news, sales, or any other media
without written consent and approval of the appraiser. Nor shall the appraiser, firm, or
professional organization of which the appraiser is a member be identified without written
consent of the appraiser.
        6. By acceptance of this report, the client acknowledges that the value opinion is the
product of a professionally trained mind, but nevertheless is an opinion only, and not a provable
fact. As a personal opinion, a valuation may vary between appraisers based on the same facts.




                                               8
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                JN:EB?B<:MBHGL H? L<HMM I' LM>IA>GL%%F:B%%:B&
                                                            &@KL
                                CEO of Scott Stephens and Associates, Inc.
                                      15021 Bohemian Hall Road
                                        Crosby, TX Texas 77532
                                   (713) 451-3600 Fax 713-451-3300
                                  www.scottstephensandassociates.com
                                   email: scottpstephensOgmaffcom

Mission Statement: Scott Stephens and Associates, Inc. is committed to honesty, excellence, and
professionalism. As we build lasting relationships with our clients, our constant goal is to provide a
trustworthy "value-added"service that is indispensable in real estate lending and investment decisions.

L\hmm Lm^ia^gl & :llh\bZm^l% Bg\ aZl Z lmZ__ h_ *, bg\en]bg` , f^f[^kl h_ ma^ :iikZblZe Bglmbmnm^
!I F:B" ' L^o^g ZiikZbl^kl li^\bZebs^ bg \hff^k\bZe ikhi^kmb^l%%, bg k^lb]^gmbZe Zg] , lniihkm lmZ__'
      It




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   F:B &=^lb`gZm^] F^f[^k h_ :iikZblZe Bglmbmnm^ #00.1 hg FZk\a ,% *211
   :B&@KL &=^lb`gZm^] F^f[^k h_ :iikZblZe Bglmbmnm^ # 1*2*/ hg Gho^f[^k *0% +)*.
   LmZm^ <^kmb_b^] @^g^kZe K^Ze >lmZm^ :iikZbl^k !! <^kmb_b\Zm^ ## MQ&
                                                                     &*,+)+/2&
                                                                             &@""%
                                                                                 % lbg\^ *22*
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   K^Ze >lmZm^ ;khd^k3 M^qZl Eb\^gl^ #,+12)0%  %lbg\^ *21/
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   <nkk^gmer \^kmb_b^] [r ma^ :iikZblZe Bglmbmnm^ !! *+(+*" Zg] ma^ LmZm^ h_ M^qZl !! ,(+," '
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     ?Zggb^ FZ^ :iikZblZe @nb]^ebg^l3 =^[ngdbg` ma^ Frmal !I +(*2""%      % Bgmkh]n\mbhg mh >qi^km Pbmg^ll
     M^lmbfhgr _hk :iikZbl^kl3 Mh =h hk Ghm mh =h !! +(*2""96  % Lniihkmbg` Rhnk :]cnlmf^gml3 F^mah]l
     _hk K^lb]^gmbZe :iikZbl^kl !I +(*2""%  % ;nlbg^ll IkZ\mb\^l Zg] >mab\l !! .(+)""%   % Fbee^ggbZel Zk^
     <aZg`bg` K^Ze >lmZm^ !! /(+)""%  % ;khd^k K^lihglb[bebmr !! /(+)""%
                                                                       % M^qZl E^`Ze Ni]Zm^ IZkml * &  &+
            % : G^p Ehhd Zm <hgmkZ\m EZp !! 0(++""%% M^qZl E^`Ze Ni]Zm^ IZkml * & + ! 0(++""%
   !! /(+)""%                                                                                   % >mab\l bg
     :`^  h_ Disruption
     Age of   =blknimbhg !7/22"%Preforming
                         ! 0(++" % Ik^_hkfbg` Quality
                                              JnZebmr BPO's
                                                      ;IHl !! 0(++"
                                                                7/22"

Ikhi^kmr Mri^l :iikZbl^]3
   :iikZblZe K^ob^pl                =Zr <Zk^ ?Z\bebmb^l         Fbgb PZk^ahnl^    K^lmZnkZgml
   :nmhfhmbo^ K^iZbk                >fbg^gm =hfZbg              Fh[be^ Ahf^ IZkdl Lbg`e^ ?Zfber
   ;hq K^mZbe                       ?bk^ LmZmbhgl               Fnemb_Zfber       Lahiibg` <^gm^kl
   <Zk =^Ze^klabil                  Ahm^e(Fhm^el                H__b\^ ;nbe]bg`l  Ln[]boblbhgl
   <ank\a^l                         Bg]nlmkbZe                  H__b\^ PZk^ahnl^l OZ\Zgm EZg]
   <hgo^gb^g\^ Lmhk^l               F^]b\Ze H__b\^              KZg\a^l           OZkbhnl Hma^k

>qi^km Pbmg^ll3 AZkkbl%%;^qZk%%?hkm ;^g] Zg] Fhgm`hf^kr <hngmb^l

IZkmbZe Eblm h_ <eb^gml3
Banks3 :ee^`bZg\^%% :nlmbg%% ;Zgd h_ Ahnlmhg%% <ZibmZe%% <hf^kb\Z%% <hffngbmr ;Zgd h_ MQ%%
>iikZblZe%% ?Ze\hg%% *lm ?bgZg\bZe%% *lm Eb[^kmr%% *lm GZmbhgZe%% *lk L^\nkbmr%% *lm LmZm^%% @nZkZgmr%%
Bg]^i^g]^gm%% Hkb`bg%% IeZbgl <ZibmZe%% Ikhli^kbmr%% K^`bhgl%% Lhnma Mknlm%% M^qZl <bmbs^gl%% M^qZg%%
Mabk] <hZlm%% Mknblm%% MknlmfZkd%% PZeebl%% Phh]_hk^lm Zg] fZgr hma^kl' Additional Clients3
<hffngbmr K^lhnk\^ <N%% Fh[be <N%% La^ee ?<N%% ?bo^ Ihbgm <N%% L^\nkbmr ?<N%% <aZf[^kl
<hngmr%% AZkkbl <hngmr%% <bmb^l h_ =Zrmhg%% Ahnlmhg%% ;^Znfhgm%% Fm ;^eob^n Zg] IZlZ]^gZ%% Zl p^ee
oZkbhnl Zmmhkg^rl%% \hkihkZmbhgl%% \k^]bm ngbhgl%% bg]bob]nZel%% bglnkZg\^ \hfiZgb^l%% \hee^`^l%% l\ahhe
]blmkb\ml%%Zg] ZiikZblZe fZgZ`^f^gm \hfiZgb^l'
                                                    9
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Qualifications of Scott P. Stephens, MAI, AI-GRS continued:


F^f[^klabil%%;hZk]l%%L^kob\^3
Ahnlmhg <aZim^k h_ ma^ :iikZblZe Bglmbmnm^ ;hZk] h_ =bk^\mhkl *22-&/4 IZlm <aZbk h_ >]n\Zmbhg
<aZbkfZg h_ ma^ ;hZk] +)).%% ;hZk] h_ =bk^\mhkl +))*&/% F^f[^k *22)&+)*0 &Ghkma <aZgg^e
   :k^Z <aZf[^k h_ <hff^k\^4 <khl[r&     &An__fZg <aZf[^k h_ <hff^k\^ +)*0 • ik^l^gm
F^f[^k h_ LZg CZ\bgmh <hee^`^ ?hng]Zmbhg ;hZk] +))/&    &+))0
F^f[^k h_ ma^ KhmZkr <en[ h_ Ghkma Lahk^ &   &Ik^lb]^gm *221& &*222 Zelh l^ko^] Zl Ik^lb]^gm&
                                                                                            &>e^\m%%
     L^\k^mZkr%%Mk^Zlnk^k Zg] L^k`^Zgm Zm :kfl bg ikbhk r^Zkl
KhmZkr =blmkb\m .12) :llblmZgm =blmkb\m @ho^kghk *222&    &+)))%% +))2&&+)*)4 <aZbkfZg h_ KhmZkr
   =blmkb\m .12) Ihebh Phke]pb]^ >kZ]b\Zmbhg <hffbmm^^ !! +))*&   +% +))-&
                                                                 &%       /"
                                                                          &"
<aZbkfZg h_ Ebo^ :n\mbhg _hk Ghkmalahk^ KhmZkr <Zm_bla ?kr & <kZp_bla ;hbe +))1&    &*.
AZo^ l^ko^] Zl Z li^\bZe \hffbllbhg^k _hk AZkkbl <hngmr <hnkm Zm EZp #, # & #-#
Ob\^ Ik^lb]^gm h_ AZkkbl <hngmr FN= #1%#%?hkf^k OI h_ Phh]_hk^lm Ikh_^llbhgZe IeZsZ
Ik^lb]^gm h_ <khl[r Lihkml :llh\bZmbhg +))+&&+))-%%Rhnma ;Zl^[Zee <hZ\a *22.&   &+))-
IZlm F^f[^k h_ ;hZk] h_ =bk^\mhkl h_ ma^ _hkf^k ;kZshl OZee^r ;Zgd bg <hee^`^ LmZmbhg%%M^qZl
F^f[^k h_ ?bklm ;Zimblm <ank\a bg <khl[r%% ma^ GZmbhgZe :llh\bZmbhg h_ K^Zemhkl Zg] ma^ Ahnlmhg
;hZk] h_ K>:EMHKL §4 ;hZk] h_ ]bk^\mhkl%%_hkf^k <aZbkfZg h_ ma^ ;hZk] • IZk^gm A^Zkm PZm\a%%
<khl[r ?Zbk & Kh]^h% <aZgg^eob^p ??: ?Zbk%%La^e]hg ??: ?Zbk • :n\mbhg ;nr^k
<aZbk^] Zg] l^ko^] hg gnf^khnl hma^k \hffbmm^^l _hk <aZf[^k h_ <hff^k\^%% <khl[r Lihkml
:llh\bZmbhg%%Ahnlmhg <aZim^k h_ :iikZblZe Bglmbmnm^%%<ank\a Zg] hma^k \bob\ Zllh\bZmbhgl
Ik^lb]^gm h_ ma^ <h]r Lm^ia^gl @h ;b` hk @h Ahf^ F^fhkbZe ?hng]Zmbhg pab\a pZl ZpZk]^]
?hng]Zmbhg  h_ ma^
"Foundation of      R^Zk [r
                the Year"    ma^ <khl[r
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                                        Huffman <aZf[^k
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                                                               Commerce - +)*-'
                                                                             2014.

:pZk]l%%Bgm^k^lml%%;Z\d`khng]
L^e^\m^] [r ma^ Ahnlmhg <akhgb\e^ Zl Z Ahnlmhg A^kh _hk +)*.
<khl[r
Crosby An__fZg      <aZf[^k of
         Huffman Chamber      h_ Commerce
                                  <hff^k\^ <bmbs^g      h_ Year
                                               "Citizen of  R^Zk - +)*+
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         International: Ghkma    Lahk^ Rotary
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                                                                          R^Zk +)*)%   KhmZkr International's
                                                                                2010%Rotary    Bgm^kgZmbhgZel
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"Four :o^gn^l
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                       L^kob\^ <bmZmbhg
                                 Citation _hk   Bg]bob]nZe KhmZkbZgl
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                    "Rotary ?hng]Zmbhg       Lniihkm^k of
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                                                                        200382004%             Bgm^kgZmbhgZel
                                                                                      Rotary International's
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Presidential <bmZmbhg
               Citation *221&  *222% <h&
                        199881.999%   "Co:'Ik^lb]^gm   h_ ma^
                                             resident of      R^Zk _hk
                                                          the Year"         ma^ Rotary
                                                                       for the  KhmZkr International
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                                                                                                       District
.12)%%*221&  &*222%%KhmZkr ?hng]Zmbhg IZne AZkkbl ?^eehplabi FZchk =hghk
Ahnlmhg <aZim^k h_ ma^ :iikZblZe Bglmbmnm^ *22+ Zg] *22, &        &D^r FZg :pZk]
IZmkbhmb\ >fiehr^k • H__b\^ h_ ma^ L^\k^mZkr h_ =^_^gl^ +)), &        & +)*+
Ghkma <aZgg^e <aZf[^k h_ <hff^k\^ &         &=^]b\Zm^] L^kob\^ :pZk]%%+))0
>fiehr^kl bg\en]^ =hfbgr%% ?hk] F\Ia^klhg & M^^e *21,&                0% M^] Pabmf^k & :llh\bZm^l *210%%
                                                                     &%
Pabmf^k &  & Lm^ia^gl%%Bg\' *211' L\hmm Lm^ia^gl &     & :llh\bZm^l%%Bg\ lbg\^ CZgnZkr *212'
Pabe^ Zm M^qZl :&F   & Ngbo^klbmr pZl Z f^f[^k h_ ma^ :eiaZ S^mZ Ahghk Lh\b^mr%% ;Zimblm Lmn]^gm
Ngbhg%
Union% ;Zimblm     Ahf^ Mission
         Baptist Home     Fbllbhg Board
                                     ;hZk] Summer
                                            Lnff^k Missionary
                                                       FbllbhgZkr *21*%       =^Zgl Eblm%
                                                                      1981% Dean's           Lmn]^gm Ahnlbg`
                                                                                      List% Student   Housing
=hkf A^Z] K^lb]^gm Zg] `kZ]nZm^] bg ,'. r^Zkl'
AZo^ l^ko^] Zl ahlm _Zfber _hk ^q\aZg`^ lmn]^gml Zg] rhng` ikh_^llbhgZel _khf :nlmkZebZ%% <abe^%%
@^kfZgr%%BmZer Zg] L^k[bZ'
;hkg bg ;b` Likbg`%%M^qZl%%*+(/)' , \abe]k^g' Ah[[b^l bg\en]^ k^Z]bg`%%hnm]hhk Z\mbobmb^l%%Zllblmbg`
lmn]^gml pbma -A Zg] ??: ebo^lmh\d lahp ikhc^\ml%% ma^ ibggZ\e^ h_ pab\a bg\en]^] fr ^e]^lm lhg
pbggbg` K^l^ko^ @kZg] <aZfibhg Lm^^k Zm ma^ AEL&K          & bg +))/' I^klhgZe Ghm^3 Fr rhng`^lm lhg%%
<h]r%%]b^] hg FZr /%%+)*+ Zm ma^ Z`^ h_ *1' A^ pZl Zg Zmae^m^ ik^iZkbg` _hk \hee^`^ _hhm[Zee' B Zf
ghp Z\mbo^er bgoheo^] ikhfhmbg` a^Zkm l\k^^gbg` bg hnk rhnma makhn`ahnm ma^ lmZm^ h_ M^qZl' B
phkd with
work  pbma Texas
             M^qZl school
                     l\ahhe districts
                             ]blmkb\ml ikhfhmbg`
                                       promoting ma^    bg\enlbhg of
                                                   the inclusion   h_ a^Zkm   l\k^^gbg`l !ECG's"
                                                                       heart screenings   ! ><@l" with
                                                                                                    pbma their
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lmn]^gm iarlb\Zel' Bg +)*,%% +)*.%% +)*0 Zg] +)*2 [beel p^k^ bgmkh]n\^] bg ma^ M^qZl E^`bleZmnk^ mh
fZd^
make mabl
      this aZ iZkm h_ ma^
              part of     lmn]^gm iarlb\Zel
                      the student             Zm my
                                   physicals at  fr k^jn^lm'   Ma^ [bee
                                                     request. The   bill iZll^]   Zg] [^\Zf^
                                                                          passed and  became <h]rl
                                                                                               "Cody's EZp
                                                                                                        Law"
A;0/ bg L^im^f[^k h_ +)*2% fZdbg` M^qZl ma^ _bklm lmZm^ mh aZo^ mabl eZp' Ma^ eZp aZl ghp
iZll^] bg I^gglreoZgbZ Zg] [^^g bgmkh]n\^] bg fZgr hma^k lmZm^l' ?hk fhk^ bg_hkfZmbhg hk `h mh
ppp'\h]rlm^ia^gl_hng]Zmbhg'hk` hk _heehp nl hg ?Z\^[hhd'
                                                      10
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SCOTT PAUL STEPHENS
15021 BOHEMIAN HALL RD
CROSBY, TX 77532




                                          Certified General
TALCB
  TEXAS APPRAISER LICENSING &
                                        Real Estate Appraiser
     CERTIFICATION BOARD



 Appraiser: Scott Paul Stephens
 License #: TX 1320269 G                           License Expires: 03/31/2023


 Having provided satisfactory evidence of the qualifications required
 by the Texas Appraiser Licensing and Certification Act, Occupations
 Code, Chapter 1103, authorization is granted t❑ use this title:
 Certified General Real Estate Appraiser
                                                                          Chelsea Buchholtz
 For additional information or to file a complaint please contact TALCB    Commissioner
 at www.talcb.texas.gov.




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                                 JN:EB?B<:MBHGL H?
       MA> AHGHK:;E> KR:G CHL>IA =:@E>R% F:B% <A:F;>KL <HNGMR
                                <HFFBLLBHG>K I<M -
                                         President of
          Scott Stephens and Associates, Inc. located at 15021 Bohemian Hall Road
                                    Crosby, Texas 77532
                             (713) 451-3600 Fax 713-451-3300
                           www.scottstephensandassociates.com
                                  ryandagleyOgmail.corn

Mission Statement: Scott Stephens and Associates, Inc. is committed to honesty, excellence, and
professionalism. As we build lasting relationships with our clients, our constant goal is to
provide a trustworthy "value-added" service that is indispensable in real estate lending and
investment decisions.

Ikh_^llbhgZe :__bebZmbhgl3
        F:B &=^lb`gZm^] F^f[^k h_ ma^ :iikZblZe Bglmbmnm^ #--+))+
        LmZm^ <^kmb_b^] @^g^kZe K^Ze >lmZm^ :iikZbl^k Eb\^gl^ #MQ&*,,.+)1&@

>]n\ZmbhgZe ;Z\d`khng]3
       Ghkma Lahk^ Ab`a L\ahhe&Ahnlmhg% M^qZl FZr&*220
       Ngbo^klbmr h_ Ahnlmhg Ahnlmhg% M^qZl &@kZ]nZm^ pbma ;Z\a^ehk h_ ;nlbg^ll :]fbgblmkZmbhg &
       =^`k^^%%FZr%%+))+

K^\^gm <hgmbgnbg` >]n\Zmbhg <hfie^m^]3
        ;Zlb\ Ahm^e :iikZblbg` Ebfbm^] L^kob\^ Ahm^el !! -(,(+)*2%% :iikZblZe h_ EZg] ln[c^\m mh @khng]
         E^Zl^l !! -(1(+)*2".96
                              % :iikZblZe h_ ?Zlm _hh] ?Z\bebmb^l !! -(*(+)*2".96 % NLI:I Ni]Zm^ !! -(+-(+)*2".'%
                                                                                                                %
         K^lb]^gmbZe Ikhi^kmr Bgli^\mbhg _hk :iikZbl^kl !! .(+)*0".96  % :iikZblZe h_ Hpg^k H\\nib^] Ikhi^kmb^l
       !! .(+)*0".96% :iikZblZe h_ K>H Ikhi^kmb^l !! .(+)*0".96% ;nlbg^ll IkZ\mb\^ Zg] >mab\l !! .(+)+)"
                                                                                                   II




<nkk^gm >fiehrf^gm3
      L\hmm Lm^ia^gl & :llh\bZm^l% Bg\'% Ahnlmhg% M^qZl&Lbg\^ +))+%
      Ob\^ Ik^lb]^gm Lbg\^ CZgnZkr +)**
      GZf^] Ik^lb]^gm bg CZgnZkr +)+)

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       ;Zgdl                             Ahm^el(Fhm^el         H__b\^ ;nbe]bg`l          Lbg`e^ ?Zfber
       ;hZm(KO LmhkZ`^                   Bg]nlmkbZe IeZgml     H__b\^ L^kob\^            Lbg`e^ M^gZgm K^mZbe
       <ank\a^l                          Eb`am Bg]nlmkbZe      H__b\^ PZk^ahnl^          Li^\bZe Inkihl^
       <hff^k\bZe =^o^ehif^gml           F^]b\Ze H__b\^        KZp EZg]                  Ln[]boblbhgl
       <hg]^fgZmbhg                      Fbgb&
                                             &pZk^ahnl^l       K^lmZnkZgml               OZkbhnl Hma^k

>qi^km Pbmg^ll3 AZkkbl%%C^__^klhg%%Zg] @Zeo^lmhg <hngmb^l

IZkmbZe Eblm h_ <eb^gml3
        ;Zgdl3 :ee^`bZg\^%% :f^`r%% :nlmbg%% ;Zk[^kl Abee%% ;;&M% & % <ZibmZe%% <hffngbmr ;Zgd h_ M^qZl%%
        ;;O: <hfiZll%% >Zlm <aZf[^kl%% >iikZblZe%% ?Ze\hg%% *lm ?bgZg\bZe%% *lm Eb[^kmr%% *lm GZmbhgZe%% *lm
        LmZm^%% A^kbmZ`^%% Bg]^i^g]^gm%% Bgm^`kbmr%% FZbgeZg]%% GZmbhgZe Ngbm^]%% Hkb`bg%% IeZbgl <ZibmZe%%
        Ikhli^kbmr%% K^`bhgl%% Libkbm h_ M^qZl%% Lhnma Mknlm%% M ;Zgd%% M^qZl <bmbs^gl%% Mabk] <hZlm%% Mknblm%%
        MknlmfZkd%% PZeebl Lm%% Phh]_hk^lm%% Sbhgl *lm GZmbhgZe Zg] fZgr hma^kl' :]]bmbhgZe <eb^gml3
        <hffngbmr K^lhnk\^ <N%%Fh[be^ <N%% La^ee ?<N%%LfZkm ?^]^kZe <N%%?bo^ Ihbgm <N%%<aZf[^kl




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JnZeb_b\Zmbhgl h_ KrZg C' =Z`e^r% F:B% \hgmbgn^]3

       <hngmr%% AZkkbl <hngmr%% LmZm^ h_ M^qZl%% N'L' :kfr <hkil h_ >g`bg^^kl%% <bmb^l h_ =Zrmhg%%
       Ahnlmhg%% ;^Znfhgm%% Fm ;^eob^n Zg] IZlZ]^gZ%% Zl p^ee oZkbhnl fngb\biZe nmbebmr ]blmkb\ml%%
       ^f^k`^g\r l^kob\^ ]blmkb\ml%% Zmmhkg^rl%% \hkihkZmbhgl%% \k^]bm ngbhgl%% bg]bob]nZel%% bglnkZg\^
       \hfiZgb^l%%\hee^`^l%%l\ahhe ]blmkb\ml%%Zg] ZiikZblZe fZgZ`^f^gm \hfiZgb^l'


;bh`kZiab\Ze ;Z\d`khng]3
       ;hkg bg ;Zrmhpg%% M^qZl%% FZr *202' <hfie^m^] ikbfZkr Zg] l^\hg]Zkr ^]n\Zmbhg bg Ahnlmhg%%
       M^qZl% FZr *220' :mm^g]^] M^qZl :&F & Ngbo^klbmr _khf *220&  &*221%%LZg CZ\bgmh Cngbhk <hee^`^
       _khf *221&*222% Zg] ma^ Ngbo^klbmr h_ Ahnlmhg _khf *222&&+))+' FZr h_ +))+% ^Zkg^] [Z\a^ehkl
       ]^`k^^ bg ;nlbg^ll :]fbgblmkZmbhg' FZkkb^] pb_^ Blbl bg /(+))+ Zg] aZo^ mph \abe]k^g !! KrZg
       =Z`e^r Ck Zg] DZreZ =Z`e^r" ' AZo^ phkd^] bg ma^ _b^e] h_ k^Ze ^lmZm^ ZiikZblZe lbg\^ +))+% Zg]
       ghp Ik^lb]^gm h_ L\hmm Lm^ia^gl & :llh\bZm^l% Bg\' ;^\Zf^ Z F^f[^k h_ ma^ :iikZblZe Bglmbmnm^
       bg Cng^ +)*.'

       F^f[^klabil%%;hZk]l%%L^kob\^3 F^f[^k h_ ma^ KhmZkr <en[ h_ Ghkma Lahk^ &        &L^k`^Zgm Zm :kfl
       bg +))1%% <hffngbmr L^kob\^ <aZbkfZg +))2%% +)*,%% +)*-%% +)*.%% +)*/%% <aZbkfZg h_ OBI
       <hffbmm^^ _hk Ghkmalahk^ KhmZkr <Zm_bla ?kr &     & <kZp_bla ;hbe +))0 mbe +)*1%% Fnembie^ IZne
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       =bk^\mhk _hk Ghkma Lahk^ KhmZkr +)*.&   &+)*1%% Mk^Zlnk^k h_ ma^ Ghkma Lahk^ KhmZkr +)*/&   &+)*0%%
       L^\k^mZkr h_ ma^ Ghkma Lahk^ KhmZkr <en[ +)*0&   &+)*1%%Ik^lb]^gm&
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       >lmZm^l AH: _khf +))1&   &+)*.%%Ghkma <aZgg^e :k^Z <aZf[^k h_ <hff^k\^ f^f[^k +))-&         &+)*+%%
       P^lm <aZf[^kl <hngmr <aZf[^k h_ <hff^k\^ F^f[^k&              &+)*0&
                                                                          &Ik^l^gm%%Ghkma <aZgg^e :k^Z
       <aZf[^k h_ <hff^k\^ • +)**&      &+)*+%% ;hZk] h_ =bk^\mhkl%% Rhnma ;Zl^[Zee <hZ\a +)*)&    &+)*2%%
       ;hZk] h_ =bk^\mhk _hk ma^ <h]r Lm^ia^gl @h ;b` hk @h Ahf^ ?hng]Zmbhg% E^^ <hee^`^ >]n\Zmbhg
       ?hng]Zmbhg&& =bk^\mhk%% :e]^kfZg _hk ;^Z\a <bmr +)*2&   &+)+)%% FZrhk h_ ;^Z\a <bmr%% M^qZl +)+)&&
       +)++%%<aZf[^kl <hngmr <hffbllbhg^k I\m - +)+,&     &Ik^l^gm




                                                  13
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RYAN JOSEPH DAGLEY
15021 BOHEMIAN HALL ROAD
CROSBY, TX 77532




                                          Certified General
TALCB
  TEXAS APPRAISER LICENSING &
                                        Real Estate Appraiser
     CERTIFICATION BOARD



 Appraiser: RYAN JOSEPH DAGLEY
 License #: TX 1335208 G                           License Expires: 08/31/2023


 Having provided satisfactory evidence of the qualifications required
 by the Texas Appraiser Licensing and Certification Act, Occupations
 Code, Chapter 1103, authorization is granted t❑ use this title:
 Certified General Real Estate Appraiser
                                                                          Chelsea Buchholtz
 For additional information or to file a complaint please contact TALCB    Commissioner
 at www.talcb.texas.gov.




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                         JN:EB?B<:MBHGL H? D:MB> :' F<@BGGBL

                        A State of Texas Licensed Real Estate Appraiser at
             Scott Stephens and Associates, Inc. located at 15021 Bohemian Hall Road
                                       Crosby, Texas 77532
                                (713) 451-3600 Fax 713-451-3300
                               www.scottstephensandassociates.corn
                                              "))# $'#%&
                                    kmcginnis.ssa0gmail.corn


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       M^qZl :&F Ngbo^klbmr% <hee^`^ h_ :`kb\nemnk^ Zg] Eb_^ L\b^g\^l% <hee^`^ LmZmbhg% MQ4
       ;Z\a^ehk h_ L\b^g\^% :gbfZe L\b^g\^ &FZr +)*+

K^\^gm <hgmbgnbg` >]n\Zmbhg <hfie^m^]3
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         Bg\hf^ :iikhZ\a IZkm * !! 2(*-(+)*1".96 % @^g^kZe :iikZbl^k Lbm^ OZenZmbhg Zg] <hlm :iikhZ\a
       !! *)(/(+)*1".96% @^g^kZe :iikZbl^k Bg\hf^ :iikhZ\a IZkm + !! *)(*/(+)*1".96% @^g^kZe :iikZbl^k K^ihkm
         Pkbmbg` Zg] <Zl^ Lnm]b^l !! *)(+)(+)*1".96
                                                  % K^Ze >lmZm^ ?bgZg\^%% LmZmblmb\l%% Zg] OZenZmbhg Fh]^ebg`
       !! **(,)(+)*1".96% @^g^kZe :iikZbl^k FZkd^m :gZerlbl Zg] Ab`a^lm Zg] ;^lm Nl^ !! +(+1(+)*2".'%% :]oZg\^]
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KATIE ANN MCGINNIS
15025 BOHEMIAN HALL RD
CROSBY, TX 77532




                                          Certified General
TALCB
  TEXAS APPRAISER LICENSING &
                                        Real Estate Appraiser
     CERTIFICATION BOARD



 Appraiser: Katie Ann McGinnis
 License #: TX 1381012 G                           License Expires: 07/31/2024


 Having provided satisfactory evidence of the qualifications required
 by the Texas Appraiser Licensing and Certification Act, Occupations
 Code, Chapter 1103, authorization is granted t❑ use this title:
 Certified General Real Estate Appraiser
                                                                          Chelsea Buchholtz
 For additional information or to file a complaint please contact TALCB    Commissioner
 at www.talcb.texas.gov.




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KAILEY REBECCA GILLINGS
514 RAIN CLOUD
BAYTOWN, Tx 77523




                                                Appraiser Trainee
TALCB
  TEXAS APPRAISER LICENSING
     CERTIFICATION BOARD



 Trainee: Kailey Rebecca Gillings
 Authorization #: TX 1343409 Trainee                              Expires: 06/30/2024
 Review the list of the above Trainee's Supervisors on the License Holder Search at
 www.talcb.texas.gov.
 Having provided satisfactory evidence of the qualifications required by the
 Texas Appraiser Licensing and Certification Act, Occupations Code, Chapter
 1103, authorization is granted to use this title: Appraiser Trainee

 For additional information or to file a complaint please contact TALCB at        Chelsea Buchholtz
 www.talcb.texas.gov.                                                              Commissioner




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                                                                                                                                                                                                                                    File No. 16490
                                                                                                          LOCATION MAP
     Borrower or Owner:
     Subject Address: SL of Mack Washington Lane                                                                                                                               Census Tract: 6803.03
     City: Hempstead                County: Waller                                                                                                                             State: TX         Zip Code: 77445
     Lender or Client:                                                                                                                                                         Lat: 30.116343    Lonp:
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                                    The location of property arrows shown on this map are approximate only. Inaccuracies may exist on map such as missing, incorrectly drawn, or incorrectly
   CAUTION:                         addressed streets. Please report any such inaccuracy to MapPro, Inc. so that appropriate corrections can be made.

                                                                                                                                 18
                                                                                                     Service. MapPro Inc., PO Box 37427, Houston, TX 77237 1-866-3MAPPRO.
                                          Prepared by Scott Stephens & Associates, Inc. using MapPro Sericg
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         DESCRIPTIONS, ANALYSES AND CONCLUSIONS




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                                INKIHL> H? MA> :IIK:BL:E

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           & : k^ZlhgZ[e^ mbf^ bl Zeehp^] _hk ^qihlnk^ bg ma^ hi^g fZkd^m4
           & IZrf^gm bl fZ]^ bg m^kfl h_ \Zla bg N'L' ]heeZkl hk bg m^kfl h_ _bgZg\bZe
             ZkkZg`^f^gml \hfiZkZ[e^ ma^k^mh4 Zg]
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hg ma^ ^__^\mbo^ ]Zm^ h_ ma^ ZiikZblZe' Ma^ fZkd^mbg` mbf^ bl Zg hibgbhg h_ ma^ Zfhngm h_ mbf^ bm
fb`am mZd^ mh l^ee ma^ ikhi^kmr bgm^k^lm [^bg` ZiikZbl^] Zm ma^ \hg\en]^] fZkd^m oZen^ e^o^e ]nkbg`


                                                                    Scott Stephens & Associates, Inc.
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ma^ i^kbh] bff^]bZm^er Z_m^k ma^ ^__^\mbo^ ]Zm^ h_ Zg ZiikZblZe' Bg mabl \Zl^%
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]^ima h_ ]bl\nllbhg Zg] ZgZerl^l \hgmZbg^] bg mabl k^ihkm bl li^\b_b\ mh ma^ g^^]l h_ ma^ \eb^gm Zg] _hk
ma^ bgm^g]^] nl^ lmZm^] bg mabl k^ihkm' Ma^ ZiikZbl^k bl ghm k^lihglb[e^ _hk ngZnmahkbs^] nl^ h_ mabl
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        Ma^ m^kf "^qm^gm h_ ma^ k^l^Zk\a" k^eZm^l mh ma^ ^qm^gm h_ ma^ ikh\^ll h_ \hee^\mbg`%
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]^^] k^\hk]l Zl k^ihkm^] [r oZkbhnl k^ihkmbg` l^kob\^l hk \hngmr Z`^g\b^l'
                                                                     Scott Stephens & Associates, Inc.
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                                                            Premise and Descriptions


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Zl h_ ma^ ^__^\mbo^ ]Zm^! l" bg]b\Zm^]' Ma^ ZiikZbl^k fZd^l gh k^ik^l^gmZmbhg Zl mh ma^ ^__^\m hg ma^
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                                              ln[l^jn^gm mh ma^ ^__^\mbo^ ]Zm^ h_ ma^ ZiikZblZe'
        Ma^ <HOB=&*2 hk <hkhgZobknl `eh[Ze iZg]^fb\ Zkkbo^] bg Ngbm^] LmZm^l bg eZm^ CZgnZkr h_
+)+) nge^Zlabg` ngik^\^]^gm^] in[eb\ `Zma^kbg` k^lmkb\mbhgl [r FZk\a h_ +)+)' Ma^ ehg`&             &Zg]

lahkm&m^kf fZkd^m bfiZ\m _khf <hob]&*2 bl bg ]^m^kfbgbg` ma^ fZkd^m oZen^ \hg\enlbhg'
        Ma^ ZmmZ\a^] k^ihkm ik^l^gml Zee _Z\mnZe dghpe^]`^ \hg\^kgbg` ma^ ln[c^\m ikhi^kmr mh
bg\en]^ bml iarlb\Ze \aZkZ\m^kblmb\l%\aZkZ\m^kblmb\l h_ ma^ `^g^kZe Zk^Z%      %
                                                                                  g^b`a[hkahh] Zg] ma^
bff^]bZm^ fZkd^m' :_m^k ik^l^gmbg` _Z\mnZe dghpe^]`^ \hg\^kgbg` ma^ ln[c^\m ikhi^kmr Zg] bml
fZkd^m%ma^ eZg] lZe^l \hfiZkblhg ZiikhZ\a mh oZen^ Zk^ ZgZers^] Zg] Z _bgZe oZen^ ^lmbfZm^ bl
k^\hg\be^] Zg] b]^gmb_b^]'

                                  <HFI>M>G<R IKHOBLBHG

       Bm bl ik^l^gm^] maZm mabl k^ihkm pZl \hfie^m^] [r L\hmm I' Lm^ia^gl% %F:B%%:B&&@KL%%KrZg
Chl^ia =Z`e^r% %F:B% %DZmb^ F\@bggbl%  %Zg] DZbe^r @beebg`l' L\hmm Lm^ia^gl Zg] KrZg =Z`e^r ahe]
ma^ F:B ]^lb`gZmbhg ZpZk]^] [r ma^ :iikZblZe Bglmbmnm^%Zg] Zk^ \nkk^gmer \^kmb_b^] ng]^k ma^
\hgmbgnbg` ^]n\ZmbhgZe ikh`kZfl' ?nkma^k%mabl ]^lb`gZmbhg bl a^e] [r ZiikZbl^kl ^qi^kb^g\^] bg ma^
oZenZmbhg Zg] ^oZenZmbhg h_ \hff^k\bZe%bg]nlmkbZe%k^lb]^gmbZe%Zg] hma^k mri^l h_ ikhi^kmb^l4 Zg]
pah Z]obl^ \eb^gml hg k^Ze ^lmZm^ bgo^lmf^gm ]^\blbhgl' KrZg =Z`e^r%    %L\hmm Lm^ia^gl% %Zg] DZmb^
F\@bggbl Zk^ LmZm^ <^kmb_b^] @^g^kZe K^Ze >lmZm^ :iikZbl^kl%  %Zg] Zk^ \nkk^gmer \^kmb_b^] ng]^k ma^

\hgmbgnbg` ^]n\ZmbhgZe ikh`kZfl' Ma^ ZiikZbl^kl aZo^ \hfie^m^] gnf^khnl ZiikZblZe Zllb`gf^gml
hg ikhi^kmb^l ln\a Zl ma^ ln[c^\m Zg] aZo^ ma^ ^qi^kb^g\^ Zg] Z[bebmr mh \hfie^m^ ma^ ZiikZblZe bg Z
\hfi^m^gm fZgg^k' ?hk Z fhk^ ]^mZbe^] ]^l\kbimbhg h_ ma^ ZiikZbl^k l jnZeb_b\Zmbhgl%   %
                                                                                         k^_^k mh ma^
bgmkh]n\mbhg l^\mbhg h_ mabl ZiikZblZe' DZbe^r @beebg`l%:iikZbl^k MkZbg^^ MQ&
                                                       %
                                                                              &*,-,-)2 aZl ikhob]^]
lb`gb_b\Zgm ikh_^llbhgZe ZllblmZg\^ mh ma^ i^klhgl lb`gbg` mabl k^ihkm Zg] bl Z MkZbg^^ ng]^k Fk'
L\hmm Lm^ia^gl%%
                 F:B%%
                       :B&&
                           @KL' DZbe^r @beebg`l bl Z mkZbg^^ Zg] bl ng]^k ma^ \hgmbgnbg` ^]n\ZmbhgZe
ikh`kZfl _khf ma^ M:E<;'

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               BGM>G=>= NL>K :G= BGM>G=>= NL> H? MA> :IIK:BL:E
                          B=>GMB?B<:MBHG H? <EB>GM


        Ma^ bgm^g]^] nl^ h_ ma^ ZiikZblZe bl _hk ma^ bgm^kgZe nl^ h_ ma^ \eb^gm !! :iikZblZe F<" _hk
                                                                                                   II




Zll^m ^oZenZmbhg Zg] ZgZerlbl' Ma^ bgm^g]^] nl^k h_ mabl ZiikZblZe bl :iikZblZe F<'


                                  ABLMHKR H? MA> LN;C><M


         :\\hk]bg` mh ma^ PZee^k <hngmr :iikZblZe =blmkb\m !! P<:="%    ma^ ln[c^\m bl Z +.'*,+&
                                                                      11%
                                                                                               &Z\k^ hk
*%)2-% 0.) ljnZk^ _^^m mkZ\m h_ eZg]' I^k ma^ PZee^k <hngmr :iikZblZe =blmkb\m !! P<:="%ma^ ln[c^\m
                                                                                          11%


bl ng]^k ma^ hpg^klabi gZf^ h_ <;M @khni EE<%       %
                                                      pah aZl hpg^] ma^ ln[c^\m _hk e^ll maZg mak^^
r^Zkl ! lbg\^ FZk\a +2%+)++ i^k P<:="' Ma^ ln[c^\m lbm^ pZl ink\aZl^] [r ma^ \nkk^gm hpg^k bg
                       %                    II




FZk\a h_ mabl r^Zk Zm Zg ng]bl\ehl^] ink\aZl^ ikb\^' <nkk^gmer%%
                                                                 ma^ ln[c^\m bl ghm [^bg` fZkd^m^] _hk
lZe^' Ma^k^ aZo^ [^^g gh hma^k dghpg \hgo^rZg\^l h_ mbme^ _hk ma^ ln[c^\m pbmabg ma^ iZlm mak^^
r^Zkl'


                                         K>:E >LM:M> M:Q>L

          Ma^ PZee^k <hngmr :iikZblZe =blmkb\m eblml ma^ hpg^klabi gZf^ h_ <;M @khni EE<
 ! ikhi^kmr ID
!property   B= +.02*+"'  <hib^l of
               257912". Copies   h_ the
                                    ma^ subject's
                                        ln[c^\ml W
                                                  P<:= mZq bg_hkfZmbhg iZ`^l Zk^ bg\en]^] pbmabg ma^
  :]]^g]Z l^\mbhg' Ma^ ln[c^\m aZl Zg Zll^ll^] oZen^ h_ $*%
                                                          $ %
                                                             )2-%%
                                                                  0.)' =n^ mh Zg Z`kb\nemnk^ ^q^fimbhg
  hg ma^ ikhi^kmr%ma^ \nkk^gm ! +)++" mhmZe Zll^ll^] oZenZmbhg _hk ma^ ln[c^\m ikhi^kmr bl $*%
                  %                 II                                                        $ %
                                                                                                 12)%
                                                                                                    %
                                                                                                      h_
  pab\a *))% %
               bl Zmmkb[nm^] mh ma^ eZg]' Ma^ ln[c^\m ikhi^kmr bl pbmabg ma^ mZqbg` cnkbl]b\mbhgl h_ ma^
  <bmr h_ A^film^Z]%  %
                        PZee^k&AZkkbl >f^k`^g\r L^kob\^ =blmkb\m +))%  %PZee^k <hngmr% %PZee^k <hngmr
  ?F% %
        Zg] A^film^Z] Bg]^i^g]^gm L\ahhe =blmkb\m' Ma^ \nkk^gm ! +)++" mhmZe mZq kZm^ bl $+',,.*-- i^k
$$*)) bg Zll^ll^] oZen^' Manl%ma^ \nkk^gm mhmZe bg]b\Zm^] mZq ebZ[bebmr _hk ma^ ln[c^\m [Zl^] hg ma^
  Z[ho^ ^lmbfZm^] Zll^ll^] oZen^ h_ ma^ ln[c^\m bl $--'
                                                     $     § Mabl k^ihkm Zllnf^l Zee mZq^l Zk^ iZb] mh
  ]Zm^'

                                           <BMR :G:ERLBL


        Ma^ Ahnlmhg& &Ma^ Phh]eZg]l&    &Ln`Zk EZg] F^mkhihebmZg LmZmblmb\Ze :k^Z aZl 0'* fbeebhg
bgaZ[bmZgml Zg] bl ma^ _b_ma fhlm ihinehnl f^mkh Zk^Z Z\\hk]bg` mh ma^ NL <^glnl ;nk^Zn Zl h_
+)*2%%ma^bk fhlm \nkk^gm k^ihkm^] r^Zk' :]]bmbhgZeer%      %ma^ <bmr h_ Ahnlmhg aZl ZiikhqbfZm^er +',
fbeebhg bgaZ[bmZgml pab\a inml ma^ \bmr Zl ma^ _hnkma&  &eZk`^lm NL \bmr'
        Ahnlmhgl economy
       Houston's   ^\hghfr ablmhkb\Zeer
                             historically k^eb^]  hg ma^
                                          relied on   the i^mkhe^nf   Zg] i^mkh\a^fb\Ze
                                                           petroleum and                ^qiehkZmbhg and
                                                                          petrochemical exploration Zg]
ikh]n\mbhg  bg]nlmkb^l%^Zkgbg` ma^
production industries%earning         \bmr the
                                 the city   ma^ mbme^
                                                 title Hbe
                                                        "Oil <ZibmZe   h_ ma^
                                                              Capital of      GZmbhg' Ahp^o^k%
                                                                          the Nation."            mh]Zr
                                                                                       However%today

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Ahnlmhg aZl [khZ]^g^] bml ^\hghfb\ [Zl^%lab_mbg` ZpZr _khf ma^ ^g^k`r l^\mhk Zg] ]bo^klb_rbg` bg
bg]nlmkb^l ebd^ [bhm^\agheh`r%gZghm^\agheh`r%fZgn_Z\mnkbg`%eh`blmb\l%Zg] Z^khgZnmb\l'
        Ma^ <HOB=&     &*2 iZg]^fb\ aZl e^] mh Z pb]^lik^Z] ^\hghfb\ ]blknimbhg Z\khll ma^ FL:%
Zg] bml ^__^\ml aZo^ [^^g _^em [hma ]bk^\mer Zg] bg]bk^\mer' Ma^ `ho^kgf^gm fZg]Zm^] lmZr&Zm&ahf^
hk]^kl ]bk^\mer bfiZ\m^] ma^ k^mZbe Zg] ahlibmZebmr l^\mhkl [r \nkmZbebg` li^g]bg` Zm ghg&^ll^gmbZe
[nlbg^ll^l Zg] lh_m^gbg` ]^fZg]' ?nkma^kfhk^%           %Zl `eh[Ze mkZo^e eZk`^er _khs^ Z_m^k ma^ iZg]^fb\%        %
ma^ ]^fZg] for
the demand   _hk oil
                  hbe and
                      Zg] gas
                           `Zl crashed
                                \kZla^] k^lnembg`   bg g^`Zmbo^
                                         resulting in            hbe ikb\^l
                                                       negative oil          _hk the
                                                                     prices for  ma^ first
                                                                                     _bklm mbf^  bg ma^
                                                                                           time in       bg]nlmkrl
                                                                                                    the industry's
ablmhkr' Ma^l^ subsequent
history. These   ln[l^jn^gm lower
                               ehp^k oil
                                      hbe ikb\^l  `eh[Zeer e^]
                                          prices globally       mh indirect
                                                            led to bg]bk^\m effects
                                                                              ^__^\ml on
                                                                                      hg Houston's
                                                                                          Ahnlmhgl energy
                                                                                                       ^g^k`r and
                                                                                                                Zg]
fZgn_Z\mnkbg` bg]nlmkb^l'
        Ma^l^ \hgl^jn^g\^l h_ ma^ iZg]^fb\ lZp oZ\Zg\r kZm^l bg\k^Zl^ ln[lmZgmbZeer bg +)+)%                       %
\hkk^eZmbg` pbma [hma g^`Zmbo^ Z[lhkimbhg Zg] ]^\k^Zlbg` k^gmZe kZm^l bg fhlm Zk^Zl Zg] l^\mhkl h_
ma^ k^Ze ^lmZm^ fZkd^m' Ma^ h__b\^ fZkd^m ^qi^kb^g\^] &-'- fbeebhg L? h_ g^m Z[lhkimbhg bg +)+)%                   %
pab\a pZl ma^ phklm r^Zk hg k^\hk]%       %Zg] Zg ho^kZee oZ\Zg\r kZm^ h_ Z[ho^ *1%        % bl hg^ h_ ma^ phklm
bg ma^ gZmbhg Zl ma^ Ahnlmhg h__b\^ fZkd^m pZl Zek^Z]r _Z\bg` ikh[e^fl ik^&                &iZg]^fb\ Zl hpg^kl
aZo^ aZ] mh \hgm^g] pbma ln\\^llbo^ lniier pZo^l Zg] pZgbg` ^g^k`r m^gZgm ]^fZg]' Bg ma^
bg]nlmkbZe l^\mhk%%
                    ]^fZg] bl [^bg` ]kbo^g [r ^&       &\hff^k\^ ikhob]^kl%     %eh`blmb\l \hfiZgb^l%    %[nbe]bg`
fZm^kbZe
material k^mZbe^kl%   Zg] discount
          retailers%and     ]bl\hngm stores.
                                       lmhk^l' R^m
                                                Yet Ahnlmhgl
                                                      Houston's bg]nlmkbZe     l^\mhk is
                                                                  industrial sector    bl experiencing
                                                                                           ^qi^kb^g\bg` k^\hk]&
                                                                                                            record&
[k^Zdbg` g^p lniier%    %
                          e^Z]bg` mh kblbg` oZ\Zg\b^l Zg] lhf^ h_ ma^ ehp^lm k^gm `khpma f^mkb\l bg ma^
\hngmkr' :g bg\k^Zl^ bg oZ\Zg\b^l bg ma^ k^mZbe l^\mhk \Znl^] [r [nlbg^ll^l lanmmbg` ]hpg aZl _hk\^]
eZg]ehk]l mh ehp^k k^gml%   %
                              Zg] +)+) fZkd^] ma^ _bklm mbf^ ma^ fZkd^m k^`blm^k^] g^`Zmbo^ ZggnZe k^gm
`khpma bg m^g r^Zkl' K^gm `khpma aZl k^fZbg^] _bkfer bg ma^ k^] lbg\^'
        Ehhdbg`
        Looking _hkpZk]%       pabe^ the
                   forward%while      ma^ local
                                            eh\Ze k^\ho^kr    hnmiZ\^] maZm
                                                   recovery outpaced            h_ ma^
                                                                           that of       NL due
                                                                                    the US    ]n^ mhto ma^   lmZm^l
                                                                                                        the state's
Z\\^e^kZm^] k^hi^gbg`%ma^ k^\ho^kr h_ ma^ Ahnlmhg ^\hghfr ]^i^g]l eZk`^er hg Zg bfikhobg`
                          %


a^Zema lbmnZmbhg'
        Ma^ g^Zk m^kf hnmehhd bl [e^Zd%      %
                                               Zl \nm[Z\dl bg ghg&  &^ll^gmbZe k^mZbe li^g]bg`%   %
                                                                                                    ^li^\bZeer _hk
l^kob\^%
       %^gm^kmZbgf^gm%    %Zg] ZiiZk^e k^mZbe^kl aZl ankm k^mZbe^k k^o^gn^l lb`gb_b\Zgmer' ?nkma^k%            %ma^
ngik^]b\mZ[bebmr
unpredictability ofh_ the
                      ma^ energy
                           ^g^k`r markets
                                    fZkd^ml a^k^
                                              here _hkpZk]   Z]] mh
                                                    forward add   to ma^   ^\hghfrl volatility.
                                                                      the economy's     oheZmbebmr' :emahn`a
                                                                                                     Although ma^the
NL kb` \hngm lmZkm^] mh k^[hng] leb`amer bg ^Zker +)+*%        %bm lmbee k^fZbgl bg ablmhkb\Zeer ehp m^kkbmhkr%    %
^qm^g]bg` economic
extending   ^\hghfb\ ng\^kmZbgmr
                          uncertainty for_hk Ahnlmhgl
                                              Houston's ^qiehkZmbhg%        ikh]n\mbhg and
                                                           exploration%production        Zg] oil
                                                                                               hbe _b^e]    l^kob\^
                                                                                                     field service
\hfiZgb^l% %pab\a Zk^ ma^ k^`bhg l eZk`^lm ^fiehr^kl'
        Ahp^o^k%bg ma^
        However%in       the ehg`^k   m^kf%Ahnlmhgl economic
                              longer term%Houston's        ^\hghfb\ outlook
                                                                        hnmehhd k^fZbgl      himbfblmb\ with
                                                                                  remains optimistic       pbma ma^
                                                                                                                 the
oZ\\bg^ kheehnm% %
                   Zg] ^\hghfblml Zk^ _hk^\Zlmbg` ,.%       %))) mh 0*%  %.)) g^p ch[l bg +)+*' Mahn`a ma^
^g^k`r bg]nlmkr bl ik^]b\m^] mh k^fZbg lmZ`gZgm%Z[ho^&%
                                                              &Zo^kZ`^ ihineZmbhg `khpma%     %
                                                                                                Zg] ^qiZglbhg bg
ahnlbg`%%
          mkZglihkmZmbhg Zg] ]blmkb[nmbhg pbee \hgmbgn^ mh ]kbo^ `khpma' Mabl bl iZkmb\neZker mkn^ bg
Ahnlmhgl ghkma^kg
Houston's            Zg] western
            northern and p^lm^kg suburbs%vhich
                                  ln[nk[l%pab\a are
                                                  Zk^ `khpbg`
                                                      growing jnb\der  Zg] aZo^
                                                               quickly and have [^\hf^
                                                                                become ma^
                                                                                         the ikbfZkr
                                                                                             primary
mZk`^m _hk bgo^lmf^gm [nr^kl' Ma^l^ Zk^Zl Zk^ Zgmb\biZm^] mh pbmg^ll Zg hnmlbs^] laZk^ h_ g^p

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]^fZg]%  %
           Zl ]^fZg] _hk lahiibg` Zg] k^gmZe ahnlbg` bl lmk^g`ma^g^] bg ma^l^ ln[nk[l ]n^ mh Z lab_m
bg k^gm^k Zg] ^fiehr^k ik^_^k^g\^l mh hnmlb]^ ma^ \hk^ Zl Z k^lnem h_ ma^ a^Zema \kblbl Zg] ln[l^jn^gm
k^fhm^ phkdbg`'
         @^h`kZiar3 Ma^ Ahnlmhg f^mkh bl \hfihl^] h_ AZkkbl%@Zeo^lmhg%;kZshkbZ%?hkm ;^g]%
<aZf[^kl%Fhgm`hf^kr%:nlmbg%Eb[^kmr%LZg CZ\bgmh%Zg] PZee^k \hngmb^l eh\Zm^] bg lhnma^Zlm^kg
M^qZl' ;hk]^k^] hg ma^ lhnma^Zlm [r ma^ @ne_ <hZlm%ma^ f^mkh ^g\hfiZll^l @Zeo^lmhg ;Zr' Ma^
Ahnlmhg Ship
Houston    Labi <aZgg^e
                 Channel ebgdl
                            links ma^   <bmr of
                                   the City   h_ Ahnlmhg
                                                 Houston mh to ma^
                                                                the @ne_
                                                                    Gulf ofh_ F^qb\h'
                                                                              Mexico. Ma^      Zk^Zl terrain
                                                                                         The area's   m^kkZbg is
                                                                                                              bl e^o^e
                                                                                                                 level
Zg] ]kZbgl bgmh Z gnf[^k h_ [Zrhnl Zg] \ZgZel' @khpma aZl likZpe^]%                   %
                                                                                        ikbfZkber mh ma^ ghkma Zg]
p^lm%fZdbg` Ahnlmhg ma^ _b_ma&
     %
                                        &fhlm ihineZm^] f^mkh bg ma^ gZmbhg' Ma^l^ *) \hngmb^l aZo^ Z
ihineZmbhg h_ Zefhlm 0'* fbeebhg i^hie^' Ahnlmhg bl ma^ eZk`^lm \bmr%                   %
                                                                                          pbma g^Zker +', fbeebhg
k^lb]^gml%_heehp^] [r IZlZ]^gZ Zg] I^ZkeZg]'
          %


         Bg_kZlmkn\mnk^3 @k^Zm         lmkb]^l aZo^
                              Great strides      have [^^g
                                                         been fZ]^
                                                                 made to mh ni`kZ]^      Ahnlmhgl mkZglihkmZmbhg
                                                                              upgrade Houston's        transportation
bg_kZlmkn\mnk^%pbma bglmZeef^gml h_ F^mkh KZbe Zg] ma^ \hfie^mbhg h_ Bgm^klmZm^ *) bg P^lm Ahnlmhg
               %


ghp    \hfikblbg` sections
now comprising       l^\mbhgl ofh_ the
                                    ma^ state's
                                         lmZm^l first
                                                  _bklm interstate
                                                        bgm^klmZm^ mhee
                                                                    toll khZ]'   :elh%ma^ apportion
                                                                          road. Also%the      Ziihkmbhg ofh_ N'L'
                                                                                                              U.S. .2
                                                                                                                    59
makhn`a Ahnlmhg aZl [^^g ni`kZ]^] Zg] k^gZf^] Bgm^klmZm^ /2' Pa^g ma^ *%                      /))&
                                                                                              %    &fbe^ bgm^klmZm^ bl
\hfie^m^]%  %Ahnlmhg pbee aZo^ [^mm^k Z\\^ll mh <ZgZ]Z Zg] F^qb\h' Lbg\^ *22-%                  %\hglmkn\mbhg hg ma^
fZllbo^   LmZm^ Ab`apZr
massive State    Highway 22%      hk @kZg]
                             99°Aor   "Grand IZkdpZr%
                                               Parkway%     aZl  ]kbo^g growth
                                                             has driven    `khpma inbg the
                                                                                        ma^ metro.
                                                                                             f^mkh' Mabl   hnm^k loop
                                                                                                     This outer   ehhi
pbee [^ ma^ eZk`^lm [^empZr bg ma^ N'L' hg\^ \hfie^m^]'
         Ma^k^ Zk^ mph fZchk \hff^k\bZe :bkihkml pbmabg ma^ Ahnlmhg FL:' @^hk`^ ;nla
Bgm^k\hgmbg^gmZe    :bkihkm !! IAH"
Intercontinental Airport       B:A" is  bl among
                                            Zfhg` the ma^ country's
                                                          \hngmkrl [nlb^lm      Zbkihkml%l^kob\bg` fhlm
                                                                       busiest airports%servicing        most fZchk
                                                                                                                major
Zbkebg^l Zg] aZl ghg&   &lmhi _eb`aml mh ^o^kr bgaZ[bm^] \hgmbg^gm' :]]bmbhgZeer%bm bl ma^ l^\hg] eZk`^lm
                                                                                           %


an[   _hk Ngbm^]
hub for   United :bkebg^l'     PbeebZf I'
                   Airlines. William          Ah[[r :bkihkm
                                           P. Hobby     Airport !! AHN"
                                                                   HOU" bl     Ahnlmhgl secondary
                                                                            is Houston's     l^\hg]Zkr commercial
                                                                                                         \hff^k\bZe
Zbkihkm%%Zg] bl Zg hi^kZmbg` [Zl^ _hk Lhnmap^lm :bkebg^l ikhob]bg` [hma ]hf^lmb\ Zg] bgm^kgZmbhgZe
_eb`aml'
         Ma^ Ihkm h_ Ahnlmhg \hgmZbgl +*) Fbe^l h_ _Z\bebmb^l eh\Zm^] Zehg` ma^ Ahnlmhg Labi
<aZgg^e
Channel andZg] aZl
               has k^\^gmer
                    recently [^^g
                               been ^qiZg]^]'
                                      expanded. Ma^The ihkm
                                                         port bl hg^ of
                                                              is one  h_ ma^  phke]l [nlb^lm%
                                                                          the world's             fhobg` fhk^
                                                                                        busiest%noving            maZg
                                                                                                           more than
+)) fbeebhg mhgl h_ \Zk`h%    %Zg] bm k^\hk]l g^Zker 1%    %))) o^ll^e \Zeel ZggnZeer' :l ma^ \ehl^lm `ne_ ihkm
mh ma^ IZgZfZ
to the  Panama <ZgZe%     Ahnlmhg will
                 Canal%-louston      pbee [^g^_bm   _khf ma^
                                          benefit from    the ihkml  bg\k^Zl^] capacity.
                                                               port's increased   \ZiZ\bmr'
         >\hghfr3 Ahnlmhg bl ma^ \^gm^k h_ ma^ N'L' i^mkhe^nf bg]nlmkr' Ma^ f^mkh e^Z]l ma^ gZmbhg
bg i^mkh\a^fb\Ze fZgn_Z\mnkbg` Zg] k^_bgbg` Zg] kZgdl ab`aer bg fZgn_Z\mnkbg` Z`kb\nemnkZe
\a^fb\Zel%  %_^kmbebs^kl%%Zg] i^lmb\b]^l' Bg _Z\m%    %Ahnlmhg bl ahf^ mh -- h_ ma^ *+1 in[eb\er mkZ]^] hbe
Zg] gas
and  `Zl companies.
          \hfiZgb^l' Houston
                         Ahnlmhg is  bl also
                                        Zelh ma^   phke]l ikbfZkr
                                              the world's    primary ikh]n\^k
                                                                        producer ofh_ oilffield
                                                                                        hbe&_b^e] equipment.
                                                                                                  ^jnbif^gm' Hma^k
                                                                                                                Other
ikh]n\ml fZgn_Z\mnk^] bg Ahnlmhg bg\en]^ iZi^k%              %^e^\mkb\Ze Zg] ^e^\mkhgb\ fZ\abg^kr%        %bkhg% %Zg]
lm^^e'
        Mh]Zr Ahnlmhg aZl [khZ]^g^] bml ^\hghfb\ [Zl^%   %
                                                           lab_mbg` ZpZr _khf ma^ ^g^k`r l^\mhk Zg]
]bo^klb_rbg` bg bg]nlmkb^l pbma Z iZkmb\neZk lmkhg`ahe] bg a^Zema\Zk^ Zg] ma^ eb_^ l\b^g\^l' Bg _Z\m%

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Ahnlmhg bl ahf^ mh ma^ eZk`^lm f^]b\Ze \^gm^k bg ma^ phke] Zm ma^ M^qZl F^]b\Ze <^gm^k%                %
                                                                                                         pab\a
mk^Zml fhk^ maZg 0'+ fbeebhg iZmb^gml ZggnZeer Zg] ^fiehrl fhk^ maZg *))%          %
                                                                                    ))) i^hie^' Ma^ M^qZl
F^]b\Ze <^gm^k aZl ieZgl mh ^qiZg] bml _hhmikbgm%pbma l^o^kZe fbeebhg L? h_ g^p eb_^ l\b^g\^l&
                                                       %
                                                                                                             &
hkb^gm^] fbq^]&  &nl^] ikhc^\ml bg ma^ ibi^ebg^' Pbma mabl ^qiZglbhg%    %ma^r l^^d mh ^lmZ[ebla M^qZl Zl
ma^
the Mabk]
    "Third <hZlm
            Coast" _hk  eb_^ sciences
                    for life l\b^g\^l and
                                       Zg] [bhm^\agheh`r
                                            biotechnology k^l^Zk\a%  \hfi^mbg` directly
                                                           research%ompeting      ]bk^\mer with
                                                                                            pbma <Zf[kb]`^%
                                                                                                  Cambridge%
F:
MA andZg] San
          LZg ?kZg\bl\h%     <:' As
               Francisco°/cCA.     :l suchMiouston's
                                       ln\a%Ahnlmhgl in[eb\    Zg] ikboZm^
                                                         public and            l^\mhkl mh]Zr
                                                                      private sectors           Zk^ ngbm^]
                                                                                        today are           bg
                                                                                                     united in
`khpbg` bml `eh[Ze eb_^ l\b^g\^l ikh_be^'
        Ma^  Ihkm of
        The Port   h_ Houston
                      Ahnlmhg is  bl one
                                     hg^ of
                                          h_ ma^ \hngmkrl [nlb^lm
                                             the country's          _hk exports
                                                            busiest for  ^qihkml and
                                                                                  Zg] bl
                                                                                       is bg
                                                                                           in ma^
                                                                                              the ikh\^ll   h_
                                                                                                   process of
ni`kZ]bg` bml _Z\bebmb^l mh aZg]e^ ma^ eZk`^k lni^kmZgd^kl maZm pbee \hf^ makhn`a ma^ pb]^g^]
IZgZfZ <ZgZe' Lb`gb_b\Zgm mkZ]bg` iZkmg^kl bg\en]^ F^qb\h%       %LZn]b :kZ[bZ%    %O^g^sn^eZ%   %<abgZ%  %Zg]
@^kfZgr' Ma^ ihkm ]bk^\mer lniieb^l mahnlZg]l h_ ch[l Zg] `^g^kZm^l [beebhgl h_ ]heeZkl bg [nlbg^ll
k^o^gn^%
revenue%ndZg] is
              bl central
                 \^gmkZe to
                          mh the
                             ma^ k^`bhgl  hg`hbg` development
                                 region's ongoing  ]^o^ehif^gm asZl aZ an[
                                                                       hub _hk  bgm^kgZmbhgZe mkZ]^'
                                                                            for international  trade.
        EZ[hk3 Ikbhk mh ma^ hnm[k^Zd h_ ma^ <hkhgZObknl IZg]^fb\%ma^ Ahnlmhg FL: \hglblm^gmer
                                                                          %


kZgd^] Zfhg` ma^ mhi f^mkhl _hk ch[ `khpma bg ma^ \hngmkr' :fie^ ch[ hiihkmngbmb^l aZ] linkk^]
lb`gb_b\Zgm ihineZmbhg `khpma Zg] fhk^ maZg *'* fbeebhg g^p k^lb]^gml p^k^ Z]]^] _khf +)*) mh
+)*2' Ahp^o^k%   %ma^ hgl^m h_ ma^ iZg]^fb\ aZl aZ] Z eZk`^ bfiZ\m hg ma^ Ahnlmhg ^\hghfr%           %e^Z]bg`
mh Z lb`gb_b\Zgm kbl^ bg ng^fiehrf^gm ]n^ mh ma^ \ehlbg` h_ fZgr k^mZbe%       %mkZglihkmZmbhg&  &k^eZm^]%%Zg]
ahlibmZebmr
hospitality [nlbg^ll^l3
             businesses: atZm ma^
                               the a^b`am   h_ ma^
                                    height of  the iZg]^fb\%   Ahnlmhgls ng^fiehrf^gm
                                                   pandemi0/0Houston'       unemployment k^Z\a^]
                                                                                               reached *-%'
                                                                                                          14%.
Pabe^ mabl e^o^e aZl k^\ho^k^] mh cnlm Z[ho^ 1%%   %%mabl bl lmbee lb`gb_b\Zgmer Z[ho^ ma^ ik^&    &iZg]^fb\
gnf[^k h_ -'*%'%


        Mh]Zr%   Ahnlmhgl labor
        TodayMiouston's       eZ[hk ihhe  \hglblml of
                                     pool consists h_ g^Zker
                                                      nearly ,'-
                                                             3.4 fbeebhg
                                                                 million bg]bob]nZel     Z\\hk]bg` mh
                                                                           individuals according     to M^qZl
                                                                                                         Texas
EZ[hk FZkd^m Bg_hkfZmbhg Zg] bl ]hfbgZm^] [r ch[l bg ma^ ^g^k`r bg]nlmkr%       %
                                                                                  pab\a \hglblml h_ ma^
_heehpbg` \hfihg^gml3 nilmk^Zf ^g^k`r ! hbe Zg] `Zl ^qiehkZmbhg Zg] ikh]n\mbhg"% ibi^ebg^
                                                                                            11%
mkZglihkmZmbhg Zg] hbe _b^e] ^jnbif^gm fZgn_Z\mnkbg`%   %Zg] ]hpglmk^Zf ^g^k`r !! k^_bgbg`% %\a^fb\Zel
fZgn_Z\mnkbg`"'
manufacturing". :mAt ik^l^gm%  nilmk^Zf companies
                      presentWupstream    \hfiZgb^l k^ik^l^gm  e^ll maZg
                                                     represent less      hg^&
                                                                    than one  mabk] of
                                                                             &bird  h_ Houston's
                                                                                       Ahnlmhgl jobs%
                                                                                                   ch[l%
pabe^ ^g^k`r&&bg]^i^g]^gm [nlbg^ll^l k^ik^l^gm fhk^ maZg .) i^k\^gm'
        Ln[lmZgmbZe structural
        Substantial  lmkn\mnkZe shifts
                                lab_ml in
                                       bg Houston's
                                          Ahnlmhgl employment
                                                    ^fiehrf^gm [Zl^
                                                                 base aZl
                                                                       has k^]n\^]
                                                                           reduced bml  oneg^kZ[bebmr mh
                                                                                    its vulnerability to
]hpgmnkgl bg ^g^k`r' Ma^ Ihkm h_ Ahnlmhg Zg] @^hk`^ ;nla Bgm^k\hgmbg^gmZe :bkihkm \hgmkb[nm^ mh
ma^ mkZ]^%mkZglihkmZmbhg%Zg] nmbebmb^l l^\mhk%pab\a bl ma^ eZk`^lm ^fiehrf^gm l^\mhk bg ma^ f^mkh%
\hfikblbg` +*% h_ Zee ghg_Zkf ch[l' Mabl l^\mhk ^qi^kb^g\^] Z ehll h_ &+',% Zl Z k^lnem h_ ma^
iZg]^fb\%Zl \hfiZk^] mh &/'1% h_ Zee ghg_Zkf ch[l' Ikh_^llbhgZe Zg] [nlbg^ll l^kob\^l bl ma^
l^\hg] eZk`^lm l^\mhk%Z\\hngmbg` _hk */'+% h_ mhmZe ^fiehrf^gm%Zg] ebd^pbl^ ^qi^kb^g\^] Z ehll
[^ehp ma^ mhmZe Zm &.'1%'
                        %
        >fiehr^kl3 Ahnlmhg l^ko^l Zl ma^ a^Z]jnZkm^kl _hk ++ ?hkmng^ .)) \hfiZgb^l 1! L^im^f[^k
+)+)" bg bg]nlmkb^l ln\a Zl ^g^k`r%mkZglihkmZmbhg Zg] m^\agheh`r' <hkihkZmbhgl hg ma^ eblm bg\en]^
     II




Iabeebil //%Lrl\h%;Zd^k An`al Zg] AZeeb[nkmhg' Ahnlmhg bl _hnkma Zfhg` f^mkhl gZmbhgpb]^ bg

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ma^ gnf[^k h_ ?hkmng^ .)) a^Z]jnZkm^kl%     %[^abg] hger G^p Rhkd <bmr%    %
                                                                             <ab\Z`h Zg] =ZeeZl'
Ahnlmhgl fZchk
Houston's          ^fiehr^kl include
           major employers    bg\en]^ A&RSE>&;%  Ahnlmhg Methodist%Memorial
                                               %Houston   F^mah]blm%F^fhkbZe A^kfZgg
                                                                                 Hermann A^Zema
                                                                                            Health
Lrlm^f%%Zg] F= :g]^klhg <Zg\^k <^gm^k'
       Mahn`a Ahnlmhg bl ahf^ mh fZgr fZchk \hkihkZmbhgl%   %
                                                              [nlbg^ll^l pbma +.) hk fhk^ phkd^kl
Z\\hngm _hk hger Z lfZee ihkmbhg h_ mhmZe ^fiehrf^gm' Ma^ f^mkh aZl ang]k^]l h_ mahnlZg]l h_
lfZee [nlbg^ll^l%
                %
                  pab\a ikhob]^ ch[l bg Zee ^fiehrf^gm l^\mhkl'
       =^fh`kZiab\l3 Ma^ _heehpbg` ]ZmZ bl mZd^g _khf ma^ NL <^glnl ;nk^Zn Zl h_ +)*2' Ma^
f^mkhl
metro's ihineZmbhg
        population aZl  `khpg *2'.%
                    has grown          lbg\^ +)*)%
                               19.5% since          Z]]bg` fhk^
                                              201V/Gadding more maZg
                                                                 than *'+ fbeebhg k^lb]^gml
                                                                      1.2 million           Zg] bl
                                                                                  residents and is
ik^]b\m^] mh \hgmbgn^ mh bg\k^Zl^ _hk ma^ g^qm _bo^ r^Zkl Zm ZiikhqbfZm^er +'+% ZggnZeer' : eZk`^
ihkmbhg h_ ma^ `khpma pbee \hf^ _khf bffb`kZmbhg Zl Zg ^qiZg]bg` ^fiehrf^gm [Zl^ ZmmkZ\ml rhng`
phkd^kl mh ma^ k^`bhg' :l Z k^lnem%ma^ Zk^Z aZl hg^ h_ ma^ ehp^lm f^]bZg Z`^l Zfhg` fZchk N'L'
f^mkhl Zm ,-'2 r^Zkl i^k ma^ NL \^glnl' :khng] +2% h_ k^lb]^gml _Zee pbmabg ma^bk ikbf^
^fiehrf^gm r^Zkl h_ +. mh --'
         Ma^ ZoZbeZ[bebmr h_ ^fiehr^^l Zelh a^eil ZmmkZ\m \hkihkZmbhgl l^^dbg` Z eZk`^%Z__hk]Z[e^ Zg]
ldbee^] labor
skilled  eZ[hk ihhe'
               pool. Fhk^   maZg 33%
                     More than   ,,% of h_ area
                                           Zk^Z k^lb]^gml   Z`^ +.
                                                 residents age     Zg] older
                                                                25 and he]^k aZo^    ZmmZbg^] aZ [Z\a^ehkl
                                                                               have attained     bachelor's
]^`k^^ Zg] fhk^ maZg *+% ahe] Z `kZ]nZm^ ]^`k^^'
         : ldbee^] phkd_hk\^ Zl p^ee Zl ma^ \hg\^gmkZmbhg h_ ?hkmng^ .)) a^Z]jnZkm^kl Zg] fZchk
[nlbg^ll   hi^kZmbhgl in
business operations   bg ma^
                          the k^`bhg  \hgmkb[nm^l mh
                              region contributes    to bg\hf^   `khpma' Ma^
                                                       income growth.   The f^mkhl
                                                                              metro's f^]bZg
                                                                                        median ahnl^ahe]
                                                                                                 household
bg\hf^%\nkk^gmer Zm $$/2%  %*2, i^k r^Zk%bl ^qi^\m^] mh kbl^ lb`gb_b\Zgmer bg ma^ g^qm _bo^ r^Zkl' Ehp
ahnlbg` ikb\^l a^ei mh d^^i Ahnlmhg Zl hg^ h_ ma^ fhlm Z__hk]Z[e^ fZchk f^mkhl bg ma^ \hngmkr%
pbma fhk^ maZg /)% h_ ahnl^ahe]l hpgbg` ma^bk ahf^'
         JnZebmr h_ Eb_^3 Outdoor
                            Hnm]hhk activities
                                     Z\mbobmb^l abound
                                                 Z[hng] inbg Ahnlmhg  Zl aZ k^lnem
                                                             Houston as            h_ ma^
                                                                            result of      \bmrl favorable
                                                                                      the city's  _ZohkZ[e^
eh\Zmbhg Zg] \ebfZm^' Fhk^ maZg Z ]hs^g lmZm^ iZkdl Zg] k^\k^Zmbhg Zk^Zl eb^ pbmabg Z lahkm ]kbo^ h_
Ahnlmhg%Zg] fhk^ maZg .)) iZkdl Zg] hi^g liZ\^l Zk^ eh\Zm^] bg ma^ bff^]bZm^ Zk^Z'
         ?hk mahl^ l^^dbg` \nemnkZe Z\mbobmb^l%Ahnlmhg bl hg^ h_ o^kr _^p N'L' \bmb^l pbma i^kfZg^gm
ikh_^llbhgZe k^lb]^gm \hfiZgb^l bg hi^kZ%    %[Zee^m%%hk\a^lmkZ Zg] ma^Zmk^' Ma^ Zk^Z Zelh aZl Z lmkhg`
\hee^\mbhg of
collection  h_ fnl^nfl     bg\en]bg` ma^
                museums including      the Fnl^nf
                                            Museum of  h_ ?bg^
                                                           Fine :kml% Ahnlmhg4 <abe]k^gl
                                                                Arts%Houston;     Children's Fnl^nf
                                                                                               Museum of h_
Ahnlmhg4 Zg] ma^ EZpg]Ze^ :km <^gm^k' :]]bmbhgZeer%Ahnlmhg bl ahf^ mh _hnk ikh_^llbhgZe lihkml
m^Zfl3 ma^ Ahnlmhg M^qZgl%ma^ Ahnlmhg :lmkhl%ma^ Ahnlmhg Kh\d^ml%Zg] ma^ Ahnlmhg =rgZfh'
         >]n\ZmbhgZe hiihkmngbmb^l also
         Educational opportunities   Zelh ieZr
                                           play aZ d^r
                                                   key khe^  bg Houston's
                                                        role in Ahnlmhgl jnZebmr   h_ life.
                                                                           quality of  eb_^' Ma^  ^]n\Zmbhg
                                                                                             The education
Zg] a^Zema l^kob\^l l^\mhk Z\\hngml _hk *+ i^k\^gm h_ mhmZe ^fiehrf^gm' Chaglhg LiZ\^ <^gm^k _hk
bglmZg\^%bl Z ihineZk mhnkblm Zg] ^]n\ZmbhgZe ]^lmbgZmbhg' Ahnlmhg h__^kl ]blmbg`nbla^] l\ahhe
]blmkb\ml Zg] fhk^ maZg -) \hee^`^l%ngbo^klbmb^l Zg] bglmbmnmbhgl' Ma^ f^mkh bl Zelh dghpg
bgm^kgZmbhgZeer _hk bml f^]b\Ze \hffngbmr Zg] bl ahf^ mh ma^ M^qZl F^]b\Ze <^gm^k%ma^ eZk`^lm
f^]b\Ze \^gm^k bg ma^ phke]'



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        =n^ mh bml Z__hk]Z[bebmr%
                                %pZkf \ebfZm^%
                                             %ehp mZq^l%%Zg] ikh&[nlbg^ll ^gobkhgf^gm%
                                                                 &                     %
                                                                                         Ahnlmhg bl
p^ee ihlbmbhg^] _hk _nmnk^ `khpma Zg] k^fZbgl k^lbeb^gm bg ma^ _Z\^ h_ ma^ \nkk^gm k^\^llbhg' B_ ma^
k^Z]^k ]^lbk^l fhk^ ]^mZbe^] lmZmblmb\Ze Zg] [Z\d`khng] bg_hkfZmbhg _hk ma^ <bmr h_ Ahnlmhg bm bl
ZoZbeZ[e^ _hk ma^ k^Z]^k Zm ma^ _heehpbg` p^[lbm^ Z]]k^ll3 ppp'ahnlmhgmq'`ho' Mabl p^[ lbm^
\hgmZbgl bg_hkfZmbhg hg ma^ ablmhkr h_ ma^ \bmr%
                                               %
                                                 ma^ _hkf h_ `ho^kgf^gm% %^\hghfr% %Zg] mkZ]^% %Zg]
Zk^Z ZmmkZ\mbhgl'
             Ma^ bg_hkfZmbhg \hgmZbg^] bg ma^ fZkd^m ho^kob^p \hf^l _khf FZk\nl & Fbeeb\aZi Zg] hma^k lhnk\^l ]^^f^] mh [^

k^ebZ[e^%ahp^o^k%gh k^ik^l^gmZmbhg%pZkkZgmr hk `nZkZgm^^%^qik^ll hk bfieb^]%fZr [^ fZ]^ Zl mh ma^ Z\\nkZ\r hk k^ebZ[bebmr h_ ma^

bg_hkfZmbhg \hgmZbg^] a^k^bg' Ma^ fhlm mbf^er ]ZmZ ZoZbeZ[e^ Zm mbf^ h_ ikh]n\mbhg%bg\en]bg` ^lmbfZm^l Zg] _hk^\Zlml%
                                                                                                                    %p^k^ nl^] Zg]

fZr [^ ln[c^\m mh k^oblbhg'


                                            G>B@A;HKAHH= :G:ERLBL


         : g^b`a[hkahh] bl ]^_bg^] Zl ": `khni h_ \hfiebf^gmZkr eZg] nl^l4 Z \hg`knhnl `khnibg`
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h_ bgaZ[bmZgml%%[nbe]bg`l%%hk [nlbg^ll ^gm^kikbl^l'" The Dictionary of Real Estate Appraisal, /ma
>]bmbhg
         Ma^ inkihl^ h_ ma^ Zk^Z Zg] g^b`a[hkahh] ZgZerlbl l^\mbhg h_ mabl k^ihkm bl mh ikhob]^ Z
[Z\d`khng] _hk ma^ ln[c^\m ikhi^kmr bg m^kfl h_ bml fhlm bff^]bZm^ bg_en^g\^l' Mabl l^\mbhg
]^ebg^Zm^l _Z\mnZe ]ZmZ Z\\hk]bg` mh ma^ lh\bZe%%^\hghfb\%  %`ho^kgf^gmZe%  %Zg] ^gobkhgf^gmZe _hk\^l
maZm Z__^\m ma^ bgaZ[bmZgml% %
                               Zg] manl ma^ oZen^ h_ ma^ ikhi^kmr bg ma^ `^g^kZe Zg] bff^]bZm^
g^b`a[hkahh]l'
         Eh\Zmbhg(;hng]Zkb^l(:\\^ll3 Ma^ ln[c^\m g^b`a[hkahh] fZr [^ `^g^kZeer ]^_bg^] mh [^
ma^ A^film^Z] Zk^Z h_ PZee^k <hngmr Zg] ma^ <bmr h_ PZee^k' Li^\b_b\Zeer%        %
                                                                                   ma^ NL +2) \hkkb]hk
[^mp^^g ma^ <bmr h_ A^film^Z] mh ma^ p^lm Zg] ma^ <bmr h_ PZee^k mh ma^ ^Zlm' A^film^Z] Zg]
PZee^k k^ik^l^gml Z knkZe \hffngbmb^l lbmnZm^] ZiikhqbfZm^er -) mh .) fbe^l ghkmap^lm h_ ma^
Ahnlmhg <^gmkZe ;nlbg^ll =blmkb\m' Ma^ <bmr h_ PZee^k bl \^gm^k^] Zkhng] ma^ bgm^kl^\mbhg h_ NL
+2) Zg] ma^ AZkkbl& &PZee^k <hngmr ebg^ Zg] A^film^Z] bl \^gm^k^] Zkhng] ma^ bgm^kl^\mbhg h_ NL
+2) Zg] LA /'
         Ma^ ln[c^\m ikhi^kmr bml^e_ bl eh\Zm^] pbmabg \bmr ebfbml h_ ma^ <bmr h_ A^film^Z]% %
                                                                                               pab\a bl
Zg bg\hkihkZm^] iZkm h_ PZee^k <hngmr%    %M^qZl' Li^\b_b\Zeer%%ma^ ln[c^\m ikhi^kmr bl lbmnZm^] Zehg`
ma^ lhnma ebg^ h_ FZ\d PZlabg`mhg EZg^%      %[^bg` cnlm ghkma h_ ;nlbg^ll NL +2) !! He] A^film^Z]
Ab`apZr"' ?nkma^kfhk^%     ma^ ln[c^\m bl eh\Zm^] ZiikhqbfZm^er *'.) fbe^l ^Zlm h_ LmZm^ Ab`apZr /
               II        %


! LA /"'
        II




        MkZ__b\ :km^kb^l3 NL +2) [^`bgl Zm Ehhi /*) bg g^Zk ghkmap^lm Ahnlmhg Zg] ^g]l Zm BA ,.
bg ghkma \^gmkZe :nlmbg' Pabe^ ma^k^ Zk^ l^o^kZe hma^k khnm^l%%
                                                                lbg\^ ma^ \hfie^mbhg h_ Zee h_ ma^ NL
+2) [riZll ab`apZr l^\mbhgl ghkmap^lm h_ Ahnlmhg%  %
                                                     bm bl ghp ma^ fhlm mkZo^e^] khnm^ [^mp^^g ma^l^

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mph bfihkmZgm M^qZl \bmb^l' LA / [^`bgl Zm Abm\a\h\d%Zm BA -.%cnlm p^lm h_ @Zeo^lmhg%Zg] ehhil
Zkhng] ma^ lhnma lb]^ h_ ma^ Ahnlmhg F^mkh :k^Z%mnkgbg` ghkma bg ma^ Ln`Zk EZg] :k^Z%Zg]
\hgmbgnbg` Zl LA / ngmbe bm k^Z\a^l NL +2)' Mh ma^ ghkma bm [^\hf^l ?F *2/)%^o^gmnZeer kbg`bg`
ma^ ^gmbk^ `k^Zm^k Ahnlmhg Zk^Z%     %f^^mbg` [Z\d pbma LA / bg Abm\a\h\d Zl LA *-/' LA / bml^e_
_heehpl ma^ \hffhg khnm^ pbma NL +2) ngmbe bm [kZg\a^l h__ mh ma^ ghkma Zm A^film^Z]%             %
                                                                                                    \hgmbgnbg`
mh ma^ ;krZg(<hee^`^ LmZmbhg%    %M^qZl : & F Ngbo^klbmr Zg] [^rhg]'
         Ma^ he] ab`apZr lmbee ^qblml [^mp^^g A^film^Z] Zg] Ahnlmhg%                  %
                                                                                        `^g^kZeer dghpg Zl
A^film^Z] Ab`apZr%      %
                          [nm aZl [^\hf^ kZma^k l^\hg]Zkr Zl Z k^lnem Zl ma^ g^p \hg_b`nkZmbhg' Ma^k^
Zk^ ieZgl mh fZd^ mabl Z mhee khZ] Zm lhf^ _nmnk^ ]Zm^' Ma^ hma^k mph \hffngbmb^l bg mabl bff^]bZm^
Zk^Z Zk^ PZee^k !! ma^ \hngmr l^Zm"%     Zg] IkZbkb^ Ob^p ! ahf^ h_ IkZbkb^ Ob^p : & F Ngbo^klbmr"'
                                      11%                                                                  II




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                          %


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         =^o^ehif^gm3 A^film^Z] [^`Zg Zl Z \Zmme^ Zg] Z`kb\nemnkZe mhpg lbmnZm^] Zehg` Z fZchk
kZbekhZ]' Bm ghp k^ik^l^gml Z mhpg h_ cnlm Zkhng] .%      %))) bg ihineZmbhg' Ma^ he] ]hpgmhpg Zk^Z lmbee
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h_ ma^ k^mZbe Zg] l^kob\^ ]^o^ehif^gm bl lmbee Zehg` ma^ he] ab`apZr' Ma^ \bmr `ho^kgf^gm bl h_ ma^
:e]^kfZg mri^' Ma^k^ Zk^ l^o^kZe [Zgdl%         %f^]b\Ze \ebgb\l%   %]h\mhkl% %]^gmblm%%Zg] \abkhikZ\mhkl% %Z
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fZkd^m% %Z PZe FZkm%  %Zg] gnf^khnl k^mZbe Zg] l^kob\^ hkb^gm^] [nlbg^ll^l'
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ma^ \bmr ebfbml%pa^k^ ikboZm^ lrlm^fl Zk^ g^\^llZkr' GZmnkZe `Zl bl ghm `^g^kZeer ZoZbeZ[e^%[nm
^e^\mkb\bmr%m^e^iahg^%ab`a li^^] bgm^kg^m l^kob\^%Zg] \Z[e^ MO Zk^ ZoZbeZ[e^' GZmnkZe `Zl bl
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        K^\k^Zmbhg3 Ma^ g^b`a[hkahh] ^gchrl ln[lmZgmbZe k^\k^ZmbhgZe hiihkmngbmb^l ]n^ mh ma^
ik^l^g\^ h_ mph fZchk ngbo^klbmb^l mh ma^ ghkma Zg] ^Zlm%     %
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likbg`%Zg] ma^k^ Zk^ l^o^kZe hma^k fZchk _^lmboZel Zg] `^m&   &mh&&`Zma^kl [^mp^^g A^film^Z]%PZee^k%
;^eeobee^%;khhdlabk^%<aZii^ee Abee%Zg] Khng] Mhi' Hg^ h_ ma^ eZk`^k Zgmbjn^ _^lmboZel bg ma^
\hngmkr ! _bo^ fbe^l hg [hma lb]^l h_ ma^ ab`apZr" mpb\^ Z r^Zk [^mp^^g Khng] Mhi Zg] PZkk^gmhg'
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p^lm h_ Ahnlmhg _khf ;khhdlabk^ Zg] L^Zer hg ma^ lhnma%      %Zee ma^ pZr mh ;k^gaZf Zg] GZoZlhmZ hg
ma^ ghkma k^ik^l^gml eh`b\Ze ]^o^ehif^gmZe ^qiZglbhg _hk ma^ _hk^l^^Z[e^ _nmnk^%      %^li^\bZeer Zl fhk^
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Zl h_ ma^ ^__^\mbo^ ]Zm^! l" bg]b\Zm^]' Ma^ ZiikZbl^k fZd^l gh k^ik^l^gmZmbhg Zl mh ma^ ^__^\m hg ma^
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        Bg Z]]bmbhg%Zl Ahnlmhg \hgmbgn^l mh ]bo^klb_r _khf bml ik^obhnler a^Zober ]^i^g]^gm
i^mkhe^nf ^\hghfr% ma^ ho^kZee [nlbg^ll [Zlbl \hgmbgn^l mh lmk^g`ma^g' <hglb]^kbg` ma^
g^b`a[hkahh] l eh\Zmbhg%Zg] bml Z\\^llb[bebmr _khf fZchk mahkhn`a_Zk^l%        %
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ikhli^\ml _hk ma^ g^b`a[hkahh] Zk^ \hglb]^k^] lmZ[e^'




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       Ho^kZee%mabl g^b`a[hkahh] bl \hglb]^k^] mh aZo^ `hh] ihm^gmbZe _hk \hgmbgn^] ]^o^ehif^gm'
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    THE ECONOMY AT A GLANCE
    HOUSTON                                                                                                                  PARTNERSHIP




                                                                              Hispanics are the largest ethnic group in Houston. No single
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                                                                              group comprises a majority of the population, however.
 How We've Changed                                             1              That's been the case for over a decade. Houston today
 Employment Update                                                            resembles what the U.S. will look like 40 years from now.
 Snapshot - Key Economic Indicators                            6                         RACE/ETHNICITY, % OF POPULATION
 Houston Nonfarm Payroll Employment                            8                            Houston in '21 v. U.S. in '60


HOW WE'VE CHANGED                                                             Hou '21              38.5                33.2         16.8   6.5 3.5

Each fall, the U.S. Census Bureau releases the American
Community Survey (ACS), its annual snapshot of the na-
tion's economic, demographic, housing and social charac-
teristics. By examining ACS data over time, one can see                       U.S. '60          27.5                44.3          15.0     9.1 4.1
shifts in the population. This issue of Glance examines what
the '21 ACS data revealed about Houston.
Race and Ethnicity                                                                 ■ Hispanic     1' Anglo ■ African American ■ Asian 7, Other

Houston's Black, Asian and Hispanic populations have
                                                                              Source: U.S. Census Bureau
grown substantially over the past 10 years. Houston's
White population, however, has stagnated. Those trends                        Foreign Born
accelerated over the past two years. There were 88,000
                                                                              Individuals born outside the U.S. represent a larger share
fewer Whites in metro Houston in '21than in '19. Hispanics
                                                                              of the region's population than a decade ago, 24.1 percent
more than made up for those losses, adding 89,000
                                                                              in '21 versus 21.9 percent in '11. By comparison, the
residents. The Black population jumped by 24,000, the
                                                                              foreign-born population for the nation was 13.6 percent in
Asian population by 25,000 over the two years.
                                                                              '21, up marginally from 13.0 percent in '11.
             METRO HOUSTON RACE AND ETHNICITY
                                                                              Since '11, Houston has added over 400,000 foreign-born
  Race/                                         Change, '11- '21
                   '21            '11                                         residents. They account for 36.1 percent of the region's
 Ethnicity                                     Estimate
                                                                              population gains since '11. Two thirds (1.1 million) of
 Hispanic      2,774,634       2,185,195      589,438           27.0
                                                                              Houston's foreign-born population, arrived in the U.S. prior
 White         2,392,671       2,386,063         6,608             0.3        to '10.
 Black         1,210,749       1,022,598      188,151           18.4
 Asian                                                          45.7                COMPOSITION OF METRO HOUSTON POPULATION
                 576,547         395,648      180,899
 Multiple'       216,205          73,043      143,162         196.0                                           '21                    '11

 Other2           36,034          24,348        11,687          48.0           Origin                     Count                Count

 Total         7,206,841       6,086,895     1,119,946          18.4           Native Born             5,469,992      75.9    4,753,865     78.1
1 Includes residents who self-identify as of two or more races.                Foreign Born            1,736,849     24.1     1,333,030     21.9
2 Includes American Indians, Alaska Natives, Native Hawaiians, and Other
                                                                               Total                   7,206,841     100.0    6,086,895    100.0
Pacific Islanders
Source: U.S. Census Bureau, American Community Survey 1-Yr Estimates          Source: U.S. Census Bureau, American Community Survey


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Less than half (42.9 percent) of our foreign-born are nat-                Disability Status
uralized citizens. That is up from 35.2 percent 10 years ago.
                                                                          One in 10 Houstonians, 743,425 residents, suffer from one
For the nation, 53.1 percent of foreign-born residents are
                                                                          or more disabilities (behavioral, emotional, sensory,
citizens, up from 44.9 percent in '11.
                                                                          mobility, or developmental). That's up from 573,540
Place of Origin                                                           residents ten years ago. Typically, this cohort grows by
                                                                          17,000 to 20,000 residents each year. From '19 to '21, the
The majority of our foreign-born came from Latin America
                                                                          population jumped by nearly 85,000. One in 24 Hou-
(61.2 percent), followed by Asia (25.9 percent), Africa (6.8
                                                                          stonians under the age of 18 has at least one disability. The
percent), Europe (4.9 percent), North America (0.9
                                                                          rate is one in 12 for ages 18 to 64 and one in three for
percent) and Oceania (0.2 percent). Twenty countries ac-
                                                                          residents 65 and older.
count for 85.5 percent of Houston's foreign-born residents.
                                                                          School Enrollment
    ORIGIN OF HOUSTON'S FOREIGN-BORN POPULATION
 Country        Residents Origin           Residents                      Just over 1.9 million Houston residents were enrolled in
 Mexico          598,758 Philippines         35,642                       school in '21, up from 1.7 million in '11. Nearly one in four
 El Salvador          118,984 Pakistan                       35,325       (22.6 percent) were in college or a graduate school, com-
 Vietnam               95,480 Cuba                           34,146       pared to 21.1 percent in '11.
 India                 94,163 United Kingdom*                28,046         POPULATION 3 YRS AND OVER ENROLLED IN SCHOOL, '21
 Honduras              91,650 Canada                         16,440                  Grade Level                Students
 Nigeria               62,864 Iran                           16,283        Nursery school, preschool                99,396            5.2
 Venezuela             54,333 Taiwan                         15,172        Kindergarten                             97,484            5.1
 China                 53,253 Nicaragua                      12,027        Elementary school (grades 1-8)          846,775           44.3
 Colombia              39,887 Germany                        11,812        High school (grades 9-12)               437,723           22.9
 Guatemala             39,813 Iraq                           10,738        College or graduate school              431,989           22.6
 Total Top 10        1,267,800 Total 11 - 20                 215,631       Total                                  1,932,292         100.0
 # Includes England and Scotland                                           Note: Columns may not sum due evenly due to rounding errors.
 Source: U.S. Census Bureau, 2021 American Community Survey                Source: U.S. Census Bureau, 2021 American Community Survey

Age                                                                       Educational Attainment

Houston's population continues to mature. In '11, the re-                 Houstonians are better educated. One in three adults (35.8
gion's median age was 33.4 years. In '21, the median was                  percent) hold a bachelor's degree or higher. Ten years ago,
35.3. The median for the U.S. is 38.8 years.                              28.9 percent did. Increased enrollment in higher education
                                                                          and the passing on of older Houstonians who tended to be
Seniors (residents over 65) accounted for 12.1 percent of                 less educated has contributed to the improvement.
our population in '21, up from 8.9 percent in '11. Minors
                                                                                  EDUCATIONAL ATTAINMENT, METRO HOUSTON
(residents under 18) were 26.2 percent of the region's
                                                                                     POPULATION 25 YEARS OLD AND OLDER
population, down from 27.7 percent in '11.
                                                                           Highest Education Level Attained    '21      '11
            AGE COMPOSITION OF METRO HOUSTON                               No High School Diploma              15.5     18.9
                              '21                    '11                     Less Than 9th Grade                9.1      9.7
 Years                  Count                  Count                         9th to 12th Grade                  6.4      9.2

 Under 20             2,068,363      28.7    1,856,503        30.5         High School Grad or Higher                   84.4          81.1
                                                                             High School/ GED only                      22.9          24.1
 20 - 34              1,506,230      20.9    1,326,943        21.8
                                                                             Some College, No Degree                    18.7          21.6
 35 - 54              1,974,674      27.4    1,710,417        28.1
                                                                             Associate Degree                            7.0           6.5
 SS - 64               799,959       11.1     651,298         10.7
                                                                            Bachelor's Degree or Higher                 35.9          28.8
 65+                   872,028       12.1      541,734         8.9
                                                                              Bachelor's Degree                         22.4          19.0
 Total                7,206,841     100.0    6,086,895       100.0            Graduate or Professional Degree           13.5           9.8
Note: Columns do not sum due evenly due to rounding errors                Note: Columns do not sum due evenly due to rounding errors.
Source: U.S. Census Bureau, American Community Survey                     Source: U.S. Census Bureau, American Community Survey

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Labor Force Participation Rate                                                         Income
The labor force participation rate is the percentage of                                Median household income trended up in recent years,
population over 16 that is employed or unemployed and                                  growing 11.3 percent, adjusted for inflation, from '11 to
actively seeking work. Houston's rate has trended down                                 '19. Incomes took a hit in the pandemic. Median household
since the '00s. The decline accelerated in the pandemic.                               income for Houston was $70,893 in '21, which is $58,707
                                                                                       in '11 constant dollars, a 3.9 percent drop from '19.
    LABOR FORCE PARTICIPATION RATE, METRO HOUSTON
                                                                                           MEDIAN HOUSEHOLD INCOME, METRO HOUSTON
    68.0
           67.4                                                                                                    58$
                                                                                                                     .4005
                                                                                                                         0:0
                                                                                                                           s    58.9 58.8
    67.5                                                                                                                                    61.1
                                                                                                           57                                       58.7
                                                                                           53    55.0 55.6
    67.0

    66.5

    66.0
                                                                            65.8
    65.5

    65.0
           '11    '12   '13   '14     '15   '16   '17     '18   '19     '21                14                             I     I     I       I     I
                                                                                           '11   '12   '13   '14   '15    '16   '17   '18     '19   '21
At 65.8 percent, Houston's rate is still well above that of
the U.S., which averaged 62.5 percent in '21.                                          "11 constant dollars
                                                                                       Source: U.S. Census Bureau American Community Survey
Travel to Work
                                                                                       Poverty
Houstonians are spending more time in traffic. According
to the ACS, the average travel time to work was 28.9                                   In '11, one in seven Houston families (14.1percent) lived in
minutes in '21, up from 27.7 minutes in '11.                                           poverty. That improved to one in ten (10.2 percent) by '19.
                                                                                       But the pandemic hit those at the lower income levels the
•      Most commuters (70.6 percent) drive to work alone,                              hardest. By '21, one in nine families (11.2 percent) lived in
       down from 80.4 percent in '11.                                                  poverty.
•      Only 8.9 percent of commuters carpool, down from
                                                                                       •   In families with children under the age of 18, the rate
       10.8 percent 10 years ago.
•                                                                                          jumped from 14.8 percent to 16.3 percent.
       Only 1.3 percent of all commutes involved public tran-
                                                                                       •   In single-mother households with children under 18,
       sit in '21, down from 2.3 percent in '11.
                                                                                           the rate was 37.9 percent in '21, a marginal im-
One in six Houston workers worked from home (WFH) in                                       provement from 41.9 percent in '11.
'21, up from one in 19 prior to the pandemic and one in 30                             •   For residents 65 and older, the rate was 11.5 percent
a decade ago. While significant, Houston lags the nation in                                in '21, up from 10.7 percent 10 years ago.
share of population working from home.
                                                                                       Veteran Status
              EMPLOYED POPULATION, 16 AND OLDER,
                     WORKING FROM HOME                                                 One in 20, or 5.0 percent of the adult population (265,780
                              '21                 '19                 '11              residents) served in the U.S. military. That's down from '11,
                                                                                       when 294,643 veterans, 6.5 percent, called Houston home.
    HOU Workforce              3.295 M            3.371 M             2.774 M
      % WFH                          15.5                5.1                3.3        Health Insurance Coverage
      # WFH                    510,853            171,970              91,557
                                                                                       More Houstonians carry health insurance now than a
    U.S. Workforce             154.3 M            156.9 M             138.2 M
                                                                                       decade ago, but the improvement has been marginal.
      % WFH                         17.9%               5.7%            4.3%           When the Census Bureau first asked about coverage in '13
       WFH                    27.622 M            8.945 M             5.945 M          (prior to passage of the Affordable Care Act), only 77.2
      Source: U.S. Census Bureau and Partnership calculations                          percent of the metro population had insurance. In '21, 80.7
                                                                                       percent had health insurance.


October 2022 Economy at a Glonce 02022, Greater Houston Partnership                                                                                     3




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    Health Insurance Coverage in Metro Houston                                       HOUSTON FERTILITY RATES, BIRTHS PER 1,000 WOMEN
                                                       % Population                 Mother's Age                   '21          '11
                                                       '21           '11            15 to 50 years old                     40                40
 With health insurance                                 80.7          75.9                 15 to 19 years old              16                 43
 With private health insurance                         60.3          56.9                 20 to 34 years old              107               104
 With public coverage                                  28.1          25.2              35 to 50 years old                 37            27
 No health insurance                                   19.3          24.1         Source: U.S. Census Bureau, 2021 American Community Survey
 Source: U.S. Census Bureau American Community Survey                            Households
Marital Status                                                                   Houston added nearly 535,000 households over the past
                                                                                 decade. In '21, roughly one-third (36.2 percent) of the 2.6
Half the region's population over the age of 15, nearly 2.9
                                                                                 million households included someone under 18; one-
million residents, is currently married. One-third of the
                                                                                 fourth (25.0 percent) included someone over the age of 65.
population has never married. The remaining population is
either widowed, separated, or divorced.                                           HOUSEHOLD COMPOSITION, METRO HOUSTON -'21
                                                                                  Household Type
        MARITAL STATUS, POPULATION 15 AND OLDER, '21
                                                                                  Married-couple household                      1,311,106         50.4
                                       4
                                                                                    With children under 18                       595,721          22.9
  Currently married               2,856,487                   50.6
                                                                                  Cohabiting couple household                    171,692            6.6
  Never married                   1,927,022                   34.1
                                                                                    With children under 18 years                  70,238            2.7
  Divorced                        500,610                      8.9
                                                                                  Male householder, no spouse/partner            452,644          17.4
  Widowed                         241,505                      4.3
                                                                                    With children under 18 years                  33,818            1.3
  Separated                       124,438                      2.2
                                                                                  Female householder, no spouse/partner          665,959          25.6
  Total                           5,647,206                  100.0
                                                                                    With children under 18 years                 150,881            5.8
 Note: Columns may not sum due evenly due to rounding errors.
 Source: U.S. Census Bureau, 2021 American Community Survey                       Males living alone                             304,364          11.7
                                                                                  Females living alone                           332,979          12.8
Fertility
                                                                                  Total                                       2,601,401    100.0
The fertility rate trended down in recent years but jumped                        Source: U.S. Census Bureau, 2021 American Community Survey
post-pandemic, setting a record for births in '21.
                                                                                 Mobility
             NUMBER OF WOMEN 15 - 50 YEARS OLD
            WHO HAD A BIRTH IN THE PAST 12 MONTHS                                One million Houstonians-14.0 percent of residents one
                                                                                 year and older-moved year. The majority simply changed
                               000s                      114.2                   apartments or houses within the metro area, but a sub-
  101.4            103.2 , A.7 99.6 101.4 99.5 104.9                             stantial number moved here from outside the region.
          96.3                                       98.4 I
               91.0 1
                                                                                           PLACE OF RESIDENCE, ONE YEAR AGO*, '21
                                                                                  Location                              Residents
                                                                                  Same house                              6,118,192          86.0
                                                                                  Different house                          995,985           14.0
                                                                                   Different house in the U.S.             946,186           13.3
                                                                                     Same county                           583,363            8.2
    1      I                       1       1     1     II
                                                                                     Different county                      355,709            5.0
    '10   '11   '12   '13   '14    '15     '16   '17   '18    '19    '21
                                                                                     Same state                            234,768            3.3
Source: U.S. Census Bureau, American Community Survey (2010.2021)                    Different state                       128,055            1.8
Of the 114,161 births in Houston last year, 32.1 percent                          Abroad                                    49,799            0.7
were to unmarried women (widowed, divorced, or never                               Total                                  7,114,177         100.0
married). Over the past 10 years, the fertility rate for                          * For population 1 year old and older
women under 20 has plummeted while the rate for women                             Source: U.S. Census Bureau, 2021 American Community Survey
                                                                                 Note: The Census Bureau did not release ACS data for '20.
35 to 50 has climbed.
                                                                                 Source: U.S. Census Bureau American Community Survey ('11-'21)

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EMPLOYMENT UPDATE                                                                          SECTORS STILL IN RECOVERY, METRO HOUSTON
                                                                                                                                                 Job Still to
Metro Houston added 5,400 jobs in August '22. This falls               Sectors
                                                                                                                                                  Recoup
below expectations for the month. In a normal year, the                Real estate and equipment rentals                                               100
region creates 7,000 to 10,000 jobs in August. In a boom
                                                                       Information                                                                     500
year, which has been the case up to this point, the region
                                                                       Hotels                                                                        2,300
creates 10,000 to 18,000 jobs. It's too soon to determine
                                                                       Other Services                                                                4,300
whether the August report is the first sign of an economic
slowdown.                                                              Manufacturing                                                                 5,700
                                                                       Energy (exploration, oil field services)                                    10,200
•    Restaurants and bars added 7,500 jobs in August. The              Source: Texas Workforce Commission and Partnership calculations
     sector normally creates 800 to 1,200 jobs in the month.
     August's job growth is likely an anomaly that will be            Nonfarm payroll employment now tops 3,273,100, well
     revised downward in future reports.                              above Houston's previous peak of 3,207,900 reached in
•    Administrative and support services added 5,500 jobs.            November '19.
     Employers are relying on contractors to meet their                                          NONFARM PAYROLL EMPLOYMENT
     workforce needs in the current tight labor market.                                                METRO HOUSTON
•    Durable goods manufacturing added 1,500 jobs in
                                                                                         3.4
     August and 7,700 since the first of the year. It's not
                                                                                         3.3
     clear from the available data in which sub sectors those
                                                                                         3.2
     jobs were created. Manufacturing overall remains well                               3.1
     below pre-pandemic employment levels.

                                                                       Jobs (Millions)
                                                                                         3.0
•    Real estate/equipment rentals added 800 jobs in                                     2.9
     August bringing employment to 100 jobs shy of where                                 2.8
     it stood in February '20. In a sector with over 64,000                              2.7
     jobs, this is essentially a rounding error. The sector                              2.6
     should be considered as fully recovered.                                            2.5
•    Employment in hotels, information, and other                                              '11 '12 '13 '14 '15 '16 '17 '18 '19 '20 '21 '22 '23
     services—all laggards in the COVID recovery— was flat            Source: Texas Workforce Commission
     in August. The energy sector, also a laggard, shed 700
     jobs.                                                            RECESSION IN 2023?

Fourteen of the 19 major sectors tracked by TWC have fully            Will the U.S. slip into a recession next year? If so, will
recovered their pandemic losses. Those sectors are:                   Houston follow? And if so, how bad will it be for Houston
                                                                      and how long will it last? The Partnership's Houston Region
•    Administrative support and waste management                      Economic Outlook event scheduled for Thursday,
•    Arts, entertainment, and recreation                              December 8 at the Royal Sonesta Hotel aims to answer
•    Construction                                                     those questions and more.
•    Educational services
•    Finance and insurance                                                                          ECONOMY SERIES
•    Food services and drinking places                                                                          C41: ATEP nOuPCni PARTNERS/11P

•    Health care and social assistance
•    Professional, scientific and tech services
•    Retail trade                                                                                    „     :11 ECONOMIC
•    Transportation, warehousing, and utilities                                                                OUTLOOK
•    Wholesale trade.
                                                                      During lunch, a of Partnership Board Members will share
Information, hotels, and personal services should recover
                                                                      their insights for Houston's future. Following the discus-
by the end of the year. The path to full recovery for energy
                                                                      sion, Patrick Jankowski, the Partnership's Chief Economist,
and manufacturing remains uncertain, especially as U.S.
                                                                      will present the Houston the employment forecast for next
economic growth has begun to slow.
                                                                      year. Register for the event at the Partnership's website.

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KEY ECONOMIC INDICATORS                                                        Purchasing Managers Index - Economic
                                                                        •      activity in Houston expanded in August at a

IIIII   Aviation - The Houston Airport System (HAS)
        handled 52.2 million passengers in the 12
        months ending August'22, up 44.5 percent from
the comparable period in '21. This marks the highest 12-
                                                                             4
                                                                               slightly slower rate than July, according to the
                                                                      most recent Houston Purchasing Managers Index (PMI).
                                                                      The August'22 PMI registered 54.2, down from 55.6 in July.
                                                                      Readings over 50 generally indicate expansion in the
month passenger count since April '20.
                                                                      economy, below 50, contraction.
           Building Permits - City of Houston building
                                                                               Rig Count - The Baker Hughes count of active
           permits totaled $7.7 billion for the 12 months
                                                                               domestic rotary rigs hit 765 the last week of
           ending August '22, up from $6.1 billion over the
                                                                               September, up 237 rigs from the same week the
same period in '21, according to the city's Public Works
                                                                      year before, according to data recently released by the
Department. Commercial permit values rose 28.6 percent
                                                                      company. The rig count is 28 shy of where it stood in mid-
to $4.3 billion and residential permit values increased 21.9
                                                                      March '20 prior to the pandemic. However, the rig count
percent to $3.4 billion.
                                                                      peaked at 1,083 the last week of December '18. The
           Construction - Metro Houston construction                  pandemic only accelerated the decline.
           starts totaled $14.8 billion through July of this
                                                                                  Unemployment - The unemployment rate
t        4 year, up from $12.1 billion over the comparable
                                                                                  for metro Houston was 4.6 percent in August
period in '21, according to the latest data from Dodge Data
                                                                                  '22, down from 4.8 percent in July '22 and from
& Analytics. Nonresidential activity increased from $4.4
                                                                      6.3 percent in August '21. The Texas rate was 4.2 percent,
billion, to $6.0 billion and residential activity from $7.7
                                                                      down from4.3 percent in July and 5.5 percent in August of
billion to $8.8 billion.
                                                                      last year. The rates are not seasonally adjusted.
           Crude Oil - The closing spot price for West
                                                                                 Vehicle Sales - New car, truck, and SUV sales
           Texas Intermediate (WTI), the U.S. benchmark
                                                                                 are up 9.7 percent through August of this year
           for light, sweet crude, averaged $93.67 per
                                                                                 compared to the same period in '21. Truck and
barrel in August '22, up from $67.73 for the same period in
                                                                      SUV sales continue to dominate the market, accounting for
'21. WTI has consistently traded above $90 per barrel since
                                                                      one in four (77.6 percent) of all vehicles sold to date.
early February '21. The U.S. Energy Information Admin-
istration forecasts WTI to average $98.07 per barrel this             Clara Richardson and Patrick Jankowski contributed to this
year and $90.91 in '23.                                               issue of Houston: The Economy at a Glance.

Ii         Home Sales - In the 12 months ending August,                                  STAY UP TO DATE
     tg [I Houston  area realtors closed on 128,869 homes,
           compared to 130,767 for the 12 months in July,              For past issues of Economy at a Glance, click here.
and 132,887 for the 12 months ending in June. In August                The Partnership posts updates to the region's key
'22, active listings of all property types (single-family,             economic indicators throughout the month. If you
townhomes, condos, duplexes) were up 25.1 percent over                 would like to receive updates by e-mail, click here.
August of '21. They are still 17.7 percent below where they
stood five years ago.                                                  If you would like to receive updates via Twitter,
                                                                       follow the Partnership's Chief Economist, Patrick
          Inflation - Inflation, as measured by the                    Jankowski, at @PNJankowski.
          Consumer Price Index for all Urban Consumers
          (CPI-U), rose 8.3 percent nationwide in the 12               If you are a not a member of the Greater Houston
months ending August '22. This has come down from a                    Partnership and would like to subscribe to Economy
peak in June '22 of 9.1 percent. The peak of the last SO               at a Glance, please click here. For information about
years was in March '80 when the annual rate topped 14.6                joining the Partnership, call Member Engagement at
percent.                                                               713-844-3683.




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                                                                                                    GEOID: 432500-000.001-000
                                                                                                    Legal Description: 5432500 CLEAR CREEK
                                                                                                    DEVELOPMENT LOT 1 ACRES 25.132

                                                                                                    Property LOCilb011
                                                                                                    MACK WASHINGTON HELILSTEADTX 77445

                                                                                                    Ownership Information
                                                                                                    CBT GROUP LLC
                                                                                                    9200 WESTHEIMER RD APT 1606
                                                    11                                              HOUSTON TX 77063 3545

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                                                                         FLOOD MAP
     Borrower or Owner:
     Subject Address: SL of Mack Washington Lane                                                                 Census Tract: 6803.03
     City: Hempstead                County: Waller                                                               State: TX         Zip Code: 77445
     Lender or Client:                                                                                           Lat: 30.116343    Long: -96.049399




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                                            Brazos River
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     Flood Zone Information                                                                                                            t-
     FEMA Map No. 48473C0135F
     FEMA Zone X
     Effective Date 05/16/2019                         &
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     a      100-Year Floodway
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            Outside 500-Year                                                              *.          94,,                                      vlsk Copyright 1994-20MPro Inc
               The location of flood hazard areas shown on this map are approximate only. Flood hazard boundaries may change from time to time. A property in the general
 CAUTION:      vicinity of a flood hazard area should be evaluated by a civil engineer or other appropriate specialist prior to purchase or investment.
                        Prepared by Scott Stephens & Associates, Inc. using MapPro Ser45 MapPro Inc., PO Box 37427, Houston, TX 77237 1-866-3MAPPRO.
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                                                            Premise and Descriptions


                                     AB@A>LM :G= ;>LM NL>

         Ab`a^lm Zg] [^lm nl^ bl ]^_bg^] Zl "ma^ k^ZlhgZ[er ikh[Z[e^ Zg] e^`Ze nl^ h_ oZ\Zgm eZg] hk
                                              II




Zg bfikho^] ikhi^kmr%   %pab\a bl iarlb\Zeer ihllb[e^%     %ZiikhikbZm^er lniihkm^]%   %_bgZg\bZeer _^Zlb[e^%
Zg] maZm k^lneml bg ma^ ab`a^lm oZen^"" !! The Dictionary of Real Estate AppraisaP/o      %/ma >]bmbhg"' Ma^
                                                                                                     II




]^_bgbmbhgl h_ ab`a^lm Zg] [^lm nl^ bg]b\Zm^ maZm ma^k^ Zk^ mph mri^l h_ ab`a^lm Zg] [^lm nl^' Ma^
_bklm mri^ bl ab`a^lm Zg] [^lm nl^ h_ eZg] hk Z lbm^ Zl mahn`a oZ\Zgm' Ma^ l^\hg] bl ab`a^lm Zg] [^lm
nl^ h_ Z ikhi^kmr Zl bfikho^]' >Z\a mri^ k^jnbk^l Z l^iZkZm^ ZgZerlbl' Fhk^ho^k%            %bg ^Z\a \Zl^%
                                                                                                         %ma^
^qblmbg` nl^ fZr hk fZr ghm [^ ]b__^k^gm _khf ma^ lbm^ l ab`a^lm Zg] [^lm nl^'
         E^`Zeer I^kfbllb[e^3 Bg Zee \Zl^l h_ ab`a^lm Zg] [^lm nl^%      %
                                                                           ma^ ZiikZbl^k fnlm ]^m^kfbg^ ma^
nl^l h_ ma^ lbm^ pab\a Zk^ e^`Zeer i^kfbllb[e^' Ma^ ln[c^\m bl eh\Zm^] bg ma^ <bmr h_ A^film^Z]
pbmabg PZee^k <hngmr%   %
                          pab\a A^film^Z] ]h^l ln[l\kb[^ mh shgbg`' Ma^ ln[c^\m ikhi^kmr bl shg^]
:`kb\nemnk^
"Agriculture K^lb]^gmbZe%
               Residential%  which
                               pab\a allows
                                      Zeehpl _hk
                                               for aZ variety
                                                      oZkb^mr of
                                                              h_ agriculture
                                                                  Z`kb\nemnk^ orhk commercial
                                                                                   \hff^k\bZe development.
                                                                                                ]^o^ehif^gm'
;^rhg] [nbe]bg` \h]^ k^jnbk^f^gml%ma^k^ Zii^Zk mh [^ gh e^`Ze bfi^]bf^gml mh ma^ ln[c^\m nl^ hk
                                        %


oZen^'
         Iarlb\Zeer Ihllb[e^3 Lbs^%    %m^kkZbg%%laZi^ pbma k^li^\m mh ]^o^ehif^gm%lnkkhng]bg` nl^l%
Zg] nmbebmr ZoZbeZ[bebmr Zk^ `^g^kZeer \hglb]^k^] ma^ fhlm bfihkmZgm bg ]^m^kfbgbg` nl^l mh pab\a ma^
ln[c^\m fZr [^ ]^o^ehi^]' Ma^ ln[c^\m lbm^ \hgmZbgl Z mhmZe h_ +.'*,+ Z\k^l hk *%             )2-%0.) ljnZk^
_^^m h_ oZ\Zgm eZg]' Ma^ ln[c^\m aZl Z\\^ll mh in[eb\ pZm^k Zg] l^p^k' Ma^ ln[c^\m mkZ\m bl h_ Z lbs^
Zg] laZi^ maZm \hne] Z\\hffh]Zm^ Z gnf[^k h_ nl^l' <hglb]^kbg` ma^ lbs^ Zg] eh\Zmbhg h_ ma^
ln[c^\m%%
          ma^ fhlm ebd^er iarlb\Ze nl^l phne] [^ _hk lhf^ mri^ h_ \hff^k\bZe ]^o^ehif^gm Zl
]^fZg] pZkkZgml'
         ?bgZg\bZeer ?^Zlb[e^3 Mabl \kbm^kbhg ]b\mZm^l maZm ma^ nl^ fnlm \k^Zm^ oZen^ Zg] `^g^kZm^ Z
ihlbmbo^ g^m bg\hf^' ?Z\mhkl pab\a bg_en^g\^ _^Zlb[e^ nl^l bg\en]^ mahl^ \hglb]^k^] hma^k maZg
e^`Zeer i^kfbllb[e^ Zg] iarlb\Zeer ihllb[e^ nl^l%     %
                                                        Zl p^ee Zl ^\hghfb\ _Z\mhkl k^eZmbg` mh k^gmZe kZm^l
Zg] h\\niZg\b^l h_ ma^ oZkbhnl k^Ze ^lmZm^ l^\mhkl' Bg hma^k phk]l%       %
                                                                            Z ikhi^kmr l _bgZg\bZe _^Zlb[bebmr
bl [Zl^] hg bml bg\hf^ ihm^gmbZe'
         FZqbfZeer Ikh]n\mbo^3 Bg \hglb]^kbg` ma^ fZqbfZeer ikh]n\mbo^ nl^l%             %
                                                                                           ma^ \hfiZkblhg h_
Zee nl^l ]^m^kfbg^] mh [^ iarlb\Zeer ihllb[e^%        %e^`Zeer i^kfbllb[e^%   %Zg] _bgZg\bZeer _^Zlb[e^ Zk^
^oZenZm^]' Ma^ fZqbfZeer ikh]n\mbo^ nl^ ikh]n\^l ma^ ab`a^lm kZm^ h_ k^mnkg hk ma^ ab`a^lm oZen^ mh
ma^ ikhi^kmr' @^g^kZeer%   %
                             bm bl ob^p^] Zl ma^ b]^Ze bfikho^f^gm' Ma^k^ Zk^ _^p b_ Zgr nl^l pab\a
\k^Zm^ Z `k^Zm^k k^mnkg mh ma^ eZg] maZg lhf^ mri^ h_ \hff^k\bZe nl^'
         :l OZ\Zgm3 ;Zl^] hg Z k^ob^p h_ _bgZg\bZe bg_hkfZmbhg%          %
                                                                           bm bl hnk hibgbhg maZm ma^ ab`a^lm
Zg] [^lm nl^ h_ ma^ ikhi^kmr "Zl oZ\Zgm%   " bl _hk \hff^k\bZe nl^'
                              II
                                          %




                                                                        Scott Stephens & Associates, Inc.
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                                         SALES COMPARISON APPROACH

         =FC   Q?JCQ comparison
         The sales    AMKN?PGQML approach
                                     ?NNPM?AF GQ  is a? set
                                                        QCR of
                                                             MD procedures
                                                                NPMACBSPCQ inGL which
                                                                                 UFGAF a? value
                                                                                             T?JSC GLBGA?RGML
                                                                                                    indication isGQ
BCPGTCB by
derived    @W comparing
              AMKN?PGLE the RFC property
                                  NPMNCPRW being
                                            @CGLE appraised
                                                     ?NNP?GQCB toRM similar
                                                                     QGKGJ?P properties
                                                                              NPMNCPRGCQ that
                                                                                           RF?R have
                                                                                                 F?TC been
                                                                                                       @CCL sold
                                                                                                              QMJB
PCACLRJW$ applying
recently,   ?NNJWGLE appropriate
                      ?NNPMNPG?RC SLGRQ    MD comparison,
                                     units of AMKN?PGQML$ and ?LB making
                                                                   K?IGLE adjustments
                                                                            ?BHSQRKCLRQ to RM the
                                                                                              RFC sales
                                                                                                  Q?JCQ prices
                                                                                                         NPGACQ of
                                                                                                                MD
RFC comparables
the AMKN?P?@JCQ based
                    @?QCB onML the
                                 RFC element
                                      CJCKCLR ofMD comparison.
                                                    AMKN?PGQML& =FC      Q?JCQ comparison
                                                                   The sales    AMKN?PGQML approach
                                                                                              ?NNPM?AF mayK?W be@C
SQCB to
used  RM value
         T?JSC improved
                 GKNPMTCB properties,
                            NPMNCPRGCQ$ vacant
                                          T?A?LR land
                                                   J?LB or
                                                         MP J?LB @CGLE considered
                                                            land being   AMLQGBCPCB as?Q though
                                                                                         RFMSEF vacant.
                                                                                                  T?A?LR&
         =FC  Q?JCQ comparison
         The sales  AMKN?PGQML approach
                                    ?NNPM?AF isGQ applicable
                                                  ?NNJGA?@JC when
                                                               UFCL sufficient
                                                                      QSDDGAGCLR data
                                                                                 B?R? on
                                                                                       ML PCACLR   K?PICR
                                                                                           recent market
RP?LQ?ARGMLQ is
transactions   GQ available.
                  ?T?GJ?@JC& 4QQCLRG?J   GLDMPK?RGML on
                             Essential information       ML income-producing
                                                            GLAMKC%NPMBSAGLE properties
                                                                                  NPMNCPRGCQ derived
                                                                                               BCPGTCB through
                                                                                                        RFPMSEF
Q?JCQ AMKN?PGQML
sales comparison is  GQ used
                        SQCB GL  RFC GLAMKC
                              in the           A?NGR?JGX?RGML and
                                      income capitalization     ?LB cost
                                                                     AMQR approaches.
                                                                          ?NNPM?AFCQ&
         =FC  NPMACBSPC for
         The procedure    DMP applying
                               ?NNJWGLE the
                                          RFC sales
                                              Q?JCQ comparison
                                                      AMKN?PGQML approach
                                                                    ?NNPM?AF includes
                                                                               GLAJSBCQ the
                                                                                          RFC following:
                                                                                              DMJJMUGLE1
        1.
        (& Research
            ;CQC?PAF the
                      RFC competitive
                          AMKNCRGRGTC market
                                        K?PICR DMP
                                                 for GLDMPK?RGML   ML properties
                                                      information on   NPMNCPRGCQ that
                                                                                  RF?R are
                                                                                       ?PC similar
                                                                                            QGKGJ?P to
                                                                                                    RM the
                                                                                                       RFC subject
                                                                                                           QS@HCAR
NPMNCPRW and
property   ?LB that
                  RF?R F?TC
                        have PCACLRJW
                               recently QMJB$      ?PC JGQRCB
                                            sold, are   listed DMP
                                                                for Q?JC$   MP are
                                                                     sale, or  ?PC under
                                                                                     SLBCP AMLRP?AR&
                                                                                             contract. 6LDMPK?RGML
                                                                                                          Information on ML agreements
                                                                                                                              ?EPCCKCLRQ
MD sale,
of Q?JC$ options,
          MNRGMLQ$ JGQRGLEQ$      ?LB bona
                      listings, and     @ML? DGBC     MDDCPQ may
                                                fide offers    K?W also
                                                                     ?JQM be@C AMJJCARCB&    =FC AF?P?ARCPGQRGAQ
                                                                                collected. The     characteristics of  MD the
                                                                                                                          RFC properties
                                                                                                                                NPMNCPRGCQ
QSAF as
such  ?Q property
          NPMNCPRW type,
                       RWNC$ date
                               B?RC ofMD sale,
                                         Q?JC$ size,
                                                 QGXC$ physical
                                                        NFWQGA?J AMLBGRGML$
                                                                    condition, JMA?RGML$       ?LB land
                                                                                   location, and    J?LB useSQC constraints
                                                                                                                  AMLQRP?GLRQ should
                                                                                                                                 QFMSJB be@C
AMLQGBCPCB& =FC
considered.      The EM?J
                       goal GQ   RM find
                              is to  DGLB a? set
                                               QCR of
                                                    MD comparable
                                                        AMKN?P?@JC salesQ?JCQ orMP other
                                                                                    MRFCP evidence
                                                                                           CTGBCLAC such QSAF as?Q property
                                                                                                                    NPMNCPRW listings
                                                                                                                                JGQRGLEQ or
                                                                                                                                          MP
AMLRP?ARQ as
contracts   ?Q QGKGJ?P    ?Q possible
                 similar as    NMQQG@JC to RM the
                                               RFC QS@HCAR    NPMNCPRW to
                                                    subject property      RM CLQSPC    RFCW PCDJCAR
                                                                             ensure they               RFC actions
                                                                                             reflect the    ?ARGMLQ ofMD similar
                                                                                                                         QGKGJ?P buyers.
                                                                                                                                     @SWCPQ&
8?PICR analysis
Market   ?L?JWQGQ and ?LB highest
                           FGEFCQR and?LB best
                                             @CQR SQC   ?L?JWQGQ set
                                                   use analysis    QCR the
                                                                        RFC stage
                                                                             QR?EC for
                                                                                     DMP the
                                                                                         RFC selection
                                                                                              QCJCARGML of MD appropriate
                                                                                                               ?NNPMNPG?RC comparable
                                                                                                                              AMKN?P?@JC
Q?JCQ&
sales.
        )& Verify
        2.   >CPGDW theRFC GLDMPK?RGML
                            information by     @W confirming
                                                   AMLDGPKGLE thatRF?R the
                                                                         RFC B?R?    M@R?GLCB GQ
                                                                              data obtained         D?ARS?JJW accurate
                                                                                                is factually      ?AASP?RC and
                                                                                                                             ?LB that
                                                                                                                                    RF?R the
                                                                                                                                         RFC
RP?LQ?ARGMLQ reflect
transactions     PCDJCAR arm's-length
                          ?PKZQ%JCLERF market K?PICR considerations.
                                                        AMLQGBCP?RGMLQ& Verification
                                                                             >CPGDGA?RGML should
                                                                                              QFMSJB CJGAGR     ?BBGRGML?J information
                                                                                                        elicit additional    GLDMPK?RGML
?@MSR the
about   RFC property
               NPMNCPRW suchQSAF as ?Q buyer
                                         @SWCP motivation,
                                                   KMRGT?RGML$ CAMLMKGA            AF?P?ARCPGQRGAQ (if
                                                                    economic characteristics           "GD the
                                                                                                            RFC property
                                                                                                                  NPMNCPRW is GQ GLAMKC%
                                                                                                                                   income-
NPMBSAGLE#$ T?JSC
producing),      value AMKNMLCLR         ?JJMA?RGMLQ$ and
                         component allocations,           ?LB other
                                                                MRFCP significant
                                                                        QGELGDGA?LR D?ARMPQ
                                                                                       factors as?Q well
                                                                                                     UCJJ as ?Q information
                                                                                                                 GLDMPK?RGML about
                                                                                                                                 ?@MSR the
                                                                                                                                         RFC
K?PICR to
market   RM CLQSPC     RF?R comparisons
              ensure that    AMKN?PGQMLQ are    ?PC credible.
                                                    APCBG@JC&
        *& <CJCAR
        3.            RFC most
             Select the    KMQR relevant
                                   PCJCT?LR units
                                                SLGRQ of
                                                       MD comparison
                                                           AMKN?PGQML used SQCB by@W participants
                                                                                       N?PRGAGN?LRQ GL     RFC market
                                                                                                       in the   K?PICR (e.g.,
                                                                                                                         "C&E&$ price
                                                                                                                                  NPGAC per
                                                                                                                                         NCP
?APC$ price
acre,  NPGAC perNCP square
                     QOS?PC DMMR$       NPGAC per
                                foot, price      NCP front
                                                      DPMLR DMMR$     NPGAC per
                                                              foot, price     NCP dwelling
                                                                                    BUCJJGLE unit)
                                                                                                SLGR# and
                                                                                                        ?LB develop
                                                                                                               BCTCJMN a? comparative
                                                                                                                             AMKN?P?RGTC
?L?JWQGQ DMP
analysis         C?AF SLGR&
           for each     unit. =FC     ?NNP?GQCPZQ goal
                                The appraiser's       EM?J isGQ to
                                                                RM define
                                                                    BCDGLC and?LB GBCLRGDW
                                                                                    identify a? unit
                                                                                                 SLGR ofMD AMKN?PGQML
                                                                                                            comparison that RF?R CVNJ?GLQ
                                                                                                                                   explains
K?PICR behavior.
market   @CF?TGMP&
        +& Look
        4.   7MMI DMP     BGDDCPCLACQ between
                     for differences      @CRUCCL the  RFC AMKN?P?@JC
                                                            comparable sale Q?JC properties
                                                                                   NPMNCPRGCQ and
                                                                                                ?LB the
                                                                                                      RFC subject
                                                                                                            QS@HCAR property
                                                                                                                      NPMNCPRW using
                                                                                                                                   SQGLE all
                                                                                                                                          ?JJ
?NNPMNPG?RC elements
appropriate     CJCKCLRQ of  MD AMKN?PGQML&
                                 comparison. =FCL         ?BHSQR the
                                                   Then adjust     RFC price
                                                                        NPGAC of
                                                                               MD C?AF    Q?JC property,
                                                                                    each sale   NPMNCPRW$ PCDJCARGLE      FMU GR
                                                                                                              reflecting how         BGDDCPQ$
                                                                                                                                  it differs,
RM COS?RC
to equate it GR to
                RM the
                   RFC subject
                        QS@HCAR property
                                  NPMNCPRW MP      CJGKGL?RC that
                                                or eliminate    RF?R property
                                                                      NPMNCPRW as ?Q a? comparable.
                                                                                        AMKN?P?@JC& This =FGQ step
                                                                                                                QRCN typically
                                                                                                                      RWNGA?JJW GLTMJTCQ
                                                                                                                                   involves
SQGLE the
using  RFC most
              KMQR similar
                     QGKGJ?P sale
                                Q?JC properties
                                      NPMNCPRGCQ and ?LB then
                                                           RFCL adjusting
                                                                 ?BHSQRGLE DMP       ?LW PCK?GLGLE
                                                                               for any    remaining BGDDCPCLACQ&
                                                                                                         differences. 6DIf a? transaction
                                                                                                                               RP?LQ?ARGML
BMCQ not
does  LMR reflect
            PCDJCAR the
                      RFC actions
                           ?ARGMLQ of MD a? buyer
                                             @SWCP who
                                                     UFM would
                                                            UMSJB also
                                                                     ?JQM be
                                                                           @C attracted
                                                                                ?RRP?ARCB toRM the
                                                                                               RFC QS@HCAR      NPMNCPRW$ the
                                                                                                    subject property,      RFC appraiser
                                                                                                                                  ?NNP?GQCP
QFMSJB be
should   @C concerned
              AMLACPLCB about
                            ?@MSR comparability.
                                    AMKN?P?@GJGRW&
        ,&  ;CAMLAGJC the
        5. Reconcile       RFC various
                                 T?PGMSQ value
                                            T?JSC GLBGA?RGMLQ      NPMBSACB DPMK
                                                    indications produced                RFC analysis
                                                                                 from the    ?L?JWQGQ of MD AMKN?P?@JCQ
                                                                                                             comparables intoGLRM a? value
                                                                                                                                       T?JSC
AMLAJSQGML& A
conclusion.      2 value
                   T?JSC opinion
                           MNGLGML can A?L be@C expressed
                                                 CVNPCQQCB as  ?Q a? single
                                                                     QGLEJC point
                                                                              NMGLR CQRGK?RC$
                                                                                      estimate, as?Q a? P?LEC
                                                                                                         range of MD values,
                                                                                                                     T?JSCQ$ orMP GL  RCPKQ
                                                                                                                                   in terms
MD relationship
of PCJ?RGMLQFGN (e.g.,
                    "C&E&$ more
                           KMPC MP or JCQQ    RF?L a? given
                                       less than      EGTCL amount).
                                                              ?KMSLR#&
      =FCPC  ?PC 10
      There are  (' basic
                     @?QGA elements
                           CJCKCLRQ ofMD comparison
                                          AMKN?PGQML thatRF?R should
                                                              QFMSJB be@C AMLQGBCPCB
                                                                          considered GL  Q?JCQ comparison
                                                                                      in sales AMKN?PGQML
?L?JWQGQ1
analysis:
       (# Real
       1) ;C?J Property
               :PMNCPRW rights
                         PGEFRQ conveyed
                                 AMLTCWCB
       )# Financing
       2) 5GL?LAGLE terms
                     RCPKQ
       *# Conditions
       3) 3MLBGRGMLQ of
                      MD sale
                         Q?JC
       +# 4VNCLBGRSPCQ
       4)                K?BC immediately
          Expenditures made    GKKCBG?RCJW after?DRCP the
                                                      RFC purchase
                                                          NSPAF?QC
       ,# 8?PICR   AMLBGRGMLQ
       5) Market conditions   "RGKC#
                              (time)
       -# 7MA?RGML
       6) Location
       .# Physical
       7) :FWQGA?J characteristics
                    AF?P?ARCPGQRGAQ —
                                    Y e.g.,
                                       C&E&$ size,
                                             QGXC$ AMLQRPSARGML$   OS?JGRW$ AMLBGRGML
                                                   construction, quality,   condition
       /#
       8) 4AMLMKGA    AF?P?ARCPGQRGAQ —
          Economic characteristics     Y e.g.,
                                          C&E&$ expense
                                                CVNCLQC P?RGMQ$
                                                           ratios, JC?QC NPMTGQGMLQ$ management,
                                                                   lease provisions, K?L?ECKCLR$ tenant
                                                                                                   RCL?LR
       KGV
       mix
       0# 7CE?J characteristics
       9) Legal  AF?P?ARCPGQRGAQ
      ('# Non-realty
      10) 9ML%PC?JRW components
                      AMKNMLCLRQ of  MD value
                                        T?JSC
"The Appraisal of
(The            of Real Estate,  (&RF 4BGRGML"
                        Estate$ 15th             )(# 362).
                                      Edition, pg.   %'$#&


                                                                    47
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 Sale 1
      1                              Key Map:                                  Reference No: 21096
PROPERTY IDENTIFICATION
PROPERTY IDENTIFICATION
Property Type:           Commercial Vacant Land
Property Name:           Commercial Vacant Land
Property Address:        SL Fm 1488 Rd
City, County, State:     Hempstead, Waller County, TX 77445                        41

SALE DATA
Grantor:                  William Ray Price
Grantee:                 Tomball Real Estate Partners LLC
Sale Date:               August 19, 2022
Financing:               Cash to seller
Property Rights:         Fee Simple
Recording Data:          2213372
Legal Description:       Tract 7, John F Martin, Abstract 227, Waller County, TX




SALE ANALYSIS
     ANALYSIS                        $1,759,622
                        Sales Price: $1,754,622                                     $1,759,622
                                                              Adjusted Sales Price: $1,754,622
                        Land           $0.72 PSF                      $31,449 Per Acre
                                                                      $31,444
LAND INFORMATION
Land Size:     55.952 Ac.                     2,437,269 SF
Frontage:      FM 1488
Floodplain:    No                                 Zoning:               None
Panel No.:                                        Encumbrances:         None
Panel Date:                                       Environmental Issues:
UTILITIES
UTILITIES
Electricity:            Yes                                 Sewer:     No
Gas:                    No                                  Telephone: Yes
Water:                  No                                  Road:      2 lane

COMMENTS
COMMENTS
Confirmed Sale (MLS 37569686)




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 Sale 2                              Key Map:                                      Reference No: 21097
PROPERTY IDENTIFICATION
PROPERTY IDENTIFICATION
                                                                                                             lr

Property Type:           Commercial Vacant Land
                                                                            ••_: • '
Property Name:           Commercial Vacant Land                          iFI           &,)
                                                                                                       !)s

                                                                               •
Property Address:        WL of Richards Rd                                              •    *fr
                                                                                                   •

City, County, State:     Hempstead, Waller County, TX 77445                                                  a. *

SALE DATA
Grantor:                 Quest IRA Inc FBO Byron K Preadom
Grantee:                 DMW Properties LLC
Sale Date:               April 29, 2022
Financing:               Cash to seller
Property Rights:         Fee Simple
Recording Data:          2205825
Legal Description:       Tract 93, Justo Liendo, Abstract 41, Waller County, TX




SALE ANALYSIS
     ANALYSIS           Sales Price: $540,000                 Adjusted Sales Price: $540,000
                        Land           $1.12 PSF                      $48,780 Per Acre
LAND INFORMATION
Land Size:     11.070 Ac.                     482,209 SF
Frontage:      Richards Rd
Floodplain:    No                                Zoning:               None
Panel No.:                                       Encumbrances:         None
Panel Date:                                      Environmental Issues:
UTILITIES
UTILITIES
Electricity:            Yes                                 Sewer:     %*&)('
                                                                       Public
Gas:                    No                                  Telephone: Yes
Water:                  %*&)('
                        Public                              Road:      2 lane

COMMENTS
COMMENTS
Confirmed Sale (MLS 14738240)




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 Sale 3                              Key Map:                                  Reference No: 21095
PROPERTY IDENTIFICATION
PROPERTY IDENTIFICATION
Property Type:           Commercial Vacant Land
Property Name:           Commercial Vacant Land
Property Address:        40647 Fm 1488 Rd
City, County, State:     Hempstead, Waller County, TX 77445                                                 I

SALE DATA                                                                                       -   • ti

Grantor:                 KGHS Holdings LLC                                        Itoi`Pd • _          Al


Grantee:                 Peter S Terpstra
Sale Date:               August 20, 2021
Financing:               Cash to seller
Property Rights:         Fee Simple
Recording Data:          2213372
Legal Description:       Tract 15, Justo Liendo, Abstract 41, Waller County, TX




SALE ANALYSIS
     ANALYSIS           Sales Price: $1,375,000               Adjusted Sales Price: $1,375,000
                        Land           $1.81 PSF                      $78,737 Per Acre
LAND INFORMATION
Land Size:     17.463 Ac.                     760,697 SF
Frontage:      FM 1488
Floodplain:    No                                 Zoning:               None
Panel No.:                                        Encumbrances:         None
Panel Date:                                       Environmental Issues:
UTILITIES
UTILITIES
Electricity:            Yes                                 Sewer:     No
Gas:                    No                                  Telephone: Yes
Water:                  No                                  Road:      2 lane

COMMENTS
COMMENTS
Confirmed Sale (MLS 18291140)




                                                       50
               Case 4:22-cv-03359 Document 97-4 Filed on 11/03/23 in TXSD Page 52 of 65

 Sale 4                              Key Map:                                  Reference No: 21098
PROPERTY IDENTIFICATION
PROPERTY IDENTIFICATION
Property Type:           Commercial Vacant Land
Property Name:           Commercial Vacant Land
Property Address:        32408 Fm 1488 Rd                                                         4`:
                                                                                                                •

City, County, State:     Hempstead, Waller County, TX 77445                       _
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SALE DATA                                                                         .)   5   2j1E         t'   4)ir   4r   4
Grantor:                  Jerry Lance Snyder
Grantee:                 32408 FM 1488 LLC
Sale Date:               July 28, 2021
Financing:               Cash to seller
Property Rights:         Fee Simple
Recording Data:          2200675
Legal Description:       Tract 4, Andrew MC Stee, Abstract 220, Waller County, TX




SALE ANALYSIS
     ANALYSIS           Sales Price: $1,900,000               Adjusted Sales Price: $1,900,000
                        Land           $0.80 PSF                      $35,047 Per Acre
LAND INFORMATION
Land Size:     54.213 Ac.                      2,361,518 SF
Frontage:      FM 1488
Floodplain:    No                                 Zoning:               None
Panel No.:                                        Encumbrances:         None
Panel Date:                                       Environmental Issues:
UTILITIES
UTILITIES
Electricity:            Yes                                 Sewer:     No
Gas:                    No                                  Telephone: Yes
Water:                  No                                  Road:      2 lane

COMMENTS
COMMENTS
Confirmed Sale (MLS 12883395)




                                                       51
               Case 4:22-cv-03359 Document 97-4 Filed on 11/03/23 in TXSD Page 53 of 65

 Sale 5                              Key Map:                                  Reference No: 21099
PROPERTY IDENTIFICATION
PROPERTY IDENTIFICATION
Property Type:           Commercial Vacant Land
                                                                                          "rtf
Property Name:           Commercial Vacant Land
Property Address:        53681 US 290                                                                L,z

                                                                                 r   .
City, County, State:     Hempstead, Waller County, TX 77445
SALE DATA
Grantor:                 Michael L Jeane
Grantee:                 Sorsby 290 Ventures LLC
Sale Date:               July 15, 2021
Financing:               Cash to seller
Property Rights:         Fee Simple
Recording Data:          2108240
Legal Description:       Tract 77, James Hall Jr., Abstract 32, Waller County, TX




SALE ANALYSIS
     ANALYSIS           Sales Price: $1,572,000                Adjusted Sales Price: $1,572,000
                        Land           $1.30 PSF                       $56,575 Per Acre
LAND INFORMATION
Land Size:     27.786 Ac.                     1,210,363 SF
Frontage:      US 290
Floodplain:    No                                 Zoning:               None
Panel No.:                                        Encumbrances:         None
Panel Date:                                       Environmental Issues:
UTILITIES
UTILITIES
Electricity:            Yes                                  Sewer:     No
Gas:                    No                                   Telephone: Yes
Water:                  No                                   Road:      2 lane

COMMENTS
COMMENTS
Confirmed Sale (MLS 15043332)




                                                        52
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                                                                                                                                                                  File No. 16490
                                                                        LOCATION MAP
Borrower or Owner:
Subject Address: SL of Mack Washington Lane                                                                           Census Tract: 6803.03
Cit
City:: Hem
       Hempstead
           .stead              Count : Waller
                               County:                                                                                State: TX         Zi
                                                                                                                                        Zip• Code: 77445
Lender or Client:                                                                                                     Lat: 30.1163      Lon
                                                                                                                                        Long:: -96.0494


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            The location of property arrows shown on this map are approximate only. Inaccuracies may exist on map such as missing, incorrectly drawn, or incorrectly
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CAUTION:    addressed streets. Please report any such inaccuracy to MapPro, Inc. so that appropriate corrections can be made.

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                                                                              Service. MapPro Inc., PO Box 37427, Houston, TX 77237 1-866-3MAPPRO.
                   Prepared by Scott Stephens & Associates, Inc. using MapPro Ser58
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                                                  54               Scott Stephens & Associates, Inc.
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                                                                 Site Valuation



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                                              55               Scott Stephens & Associates, Inc.
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                                                         LAND SALES ADJUSTMENT GRID


        Location            SL of FM 1488    WL of Richards Rd      40647 FM 1488             32408 FM 1488   53681 US 290   SL of Mack Washington



      Date of Sale             Aug-22             Apr-22               Aug-21                    Jul-21          Jul-21             Dec-22

      Size (Acres)             55.9520            11.0700              17.4632                   54.2130        27.7861             25.1320

       Sale Price              $0.72               $1.12                  $1.81                  $0.80           $1.30                ??
         $PSF
        Financing                0%                 0%                     0%                      0%             0%

       Condition                 0%                 0%                     0%                      0%             0%
        of Sale

       Cash Adj.               $0.72               $1.12                  $1.81                  $0.80           $1.30
       Sale Price

Market Conditions (Ti            0%                 0%                     3%                      3%             3%

       Time Adj.               $0.72               $1.12                  $1.86                  $0.82           $1.34
       Sale Price

          Size                  10%                -10%                   -5%                     10%             0%

        Location                -10%                0%                    -30%                    -10%           -20%

       Floodplain                0%                 0%                     0%                      0%             0%

 Ph sical Charactersitics       10%                 0%                    10%                     10%             10%

      Net Adjmts.               10%                -10%                   -25%                    10%            -10%

     Grass Adjmts.              30%                10%                    48%                     33%            33%

        Adjusted
        Price .sf              $0.79               $1.01                  $1.40                  $0.91           $1.21                ??



                                            Mean Adjusted Value:                  $1.06 psf
                                            Median Adjusted Value                 $1.01 psf
                                                                     56
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                              ADDENDA




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                                              appraisalmc
                                                 Appraisal MC
                                               320 Detering Ste B
                                               Houston, TX 77007
                                               713-623-0559

                                  APPRAISAL REQUEST FORM
                              COMPANY: Individual - Commercial NR CC
                                       State Registration Number: 2000252

   File Information
                   File ID: 221202069                                       Due Date: 1/3/2023
            Loan Number 111111

   Appraiser Information
              Loan Type: Commercial - Primary                               Appraiser Stephens, Scott
                   Form: Commercial appraisal report
             Service Fee: $1250.00
        Transaction Fee:

      Total Appraiser Fee: $1250.00

    Client Information
                    Client:                                    Borrower or Company Shook, Hardy
                              Shook, Hardy &Bacon L.LP
                                                                             Name: &Bacon
                 Address:

   Subject Property
              Address or
                          MACK WASHINGTON                              Intended Use: Home Equity
            Intersection:
                          HEMPSTEAD, TX 77445                         Property Type: Commercial
                 County: Waller
       Legal Description:
    Property Description:
                    Map: Man Link

   Property Contact Information
                         Kelsey Morris w/ Mark Dimas
         Contact Person:                                          Work Phone: 832-814-7623
                         Team
             Cell Phone:                                          Home Phone:
   Property Contact
                         Kelsey Morris w/ Mark Dimas Team kelsey@markdimasteam.com
   Notes:




Effective Date of Valuation


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                                                              As Prospective at         Prospective at Stabilized
                                              Retrospective
                                                              Is Completion             Occupancy
Effective Date(s) of Appraisal:                    []          [[          [[                       []
Property Interest Leased Fee (all or part):        []          []          [1                         []
Property Interest Fee Simple (not leased):         []          []          [[                         []
Property Interest Leasehold (borrower is
ttenant):                                          [1          [1          El                         El
Property Condition (vacant land/improved):
If Leased Fee approx % leased (excludes
owner):
If Leased Fee approx no of tenants
(excludes owner):
If Leased Fee approx remaining lease               []          []                                     []
term(s) over 5 years:                                                      El
If Leased Fee approx remaining lease               []          []                                     []
term(s) under 5 years:                                                     El

Other information believed germane to the appraisal bid:

Additional Notes:
Date            From            Message
12/14/2022 4:41 Bautista, Mayra Good afternoon your conditions have been accepted. Please proceed and
PM                              accept this order in your queue. Thank you

   Note: This appraisal order is not transferrable to another appraiser. If the appraiser named on tills appraisal
   request is unable to complete this assignment please contact Appraisal MC at 713-623-0559. All
   appraisers are approved on an individual basis, if this assignment is completed by another appraiser
   Appraisal MC will not be liable for any appraisal related service fee.




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                                             appraisarc
Commercial Order Form
client
" If a client of Appraisal MC or lender makes contact with you directly, contact Appraisal MC immediately.
Do NOT make contact with the client of Appraisal MC or lender directly unless otherwise specified in the
order. Any contact outside of the Appraisal MC system may be cause for removal and forfeit of appraisal fee
due to non-compliance with the appraiser agreement. All communication and reports must be sent through
Appraisal MC only. Failure to comply with this request will result in this order being cancelled and payment
for this order will be rescinded immediately.

Appraiser agrees not to directly or indirectly engage via communication or assignments with any of
Appraisal MC's lender clients for a period of one year without written consent of Appraisal MC. Appraiser
agrees to provide reasonable monetary damages for violation of this Agreement; and, that if monetary
damages are calculable, monetary damages alone are inadequate as a remedy for such violation.
Therefore, the parties agree that equitable remedies, including, without limitation, temporary restraining
order and mandatory injunction enforcing specific performance, are and shall be proper remedies for
violation of this Agreement. If suit is brought to enforce this Agreement, the winning party shall be entitled
to receive, in addition to any actual damages, reasonable attorney(s) fees spent in the prosecution of such
suit.

APPRAISAL MC RESERVES THE RIGHT TO DISCOUNT FEE OF PAST DUE REPORTS BY $50 PER
DAY IF NO NOTIFICATION IS RECEIVED. COMPLETED APPRAISALS MUST BE SUBMITTED BY 2 PM
CST ON THE DUE DATE.

IF A RUSH/PRIORITY ASSIGNMENT IS NOT SUBMITTED ON OR BEFORE THE DUE DATE THE
RUSH/PRIORITY ADDITIONAL FEE WILL BE FORFEITED.

ANY REVISIONS MUST BE SUBMITTED THE SAME BUSINESS DAY OTHERWISE THE ASSIGNMENT
WILL BE CONSIDERED LATE.

Trip Fee Policy:
Trip fees for scheduled appointments are not to exceed $150 unless otherwise approved. A photo of
the subject property with address must be provided for verification

Trip fees may be forfeited for the following reasons:

      • If the assignment is not submitted on or before the due date and the order is cancelled due to
        appraiser delays.
      • Cancelled orders not submitted on or before the due date
      • Assignments that have been withdrawn from


Cancellation policy:
Pre-Inspect: 0%
Post-Inspect based on appt time in system: Fee not to exceed $150 unless otherwise approved
Completed report: 100%

Cancellation fees may be forfeited for the following reasons:

      • If the assignment is not submitted on or before the due date and the order is cancelled due to
        appraiser delays.
      • Cancelled orders not submitted on or before the due date
      • Assignments that have been withdrawn from


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(Please note that any cancellations will come via message from Appraisal MC)

 TEXAS APPRAISERS: If you are an appraiser licensed or certified in Texas you must accept the TALCB
invite prior to accepting any assignments from Appraisal MC. Do not accept any assignments or begin work
on any assignments and contact Appraisal MC immediately. Appraisal MC will not be responsible for any
work completed by an appraiser not active on the Appraisal MC TALCB panel.




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Waller CAD

   Property Search Results > 257912 CDT GROUP 1.11                            Tax Year: 12022

   for Year 2022


Property

  Account
  Property ID:                257912                       Legal Description: S432500 CLEAR CREEK DEVELOPMENT
                                                                              LOT 1 ACRES 25.132
  Geographic ID:              432500-000-001-000           Zoning:
  Type:                       Real                         Agent Code:
  Property Use Code:
  Property Use Description:

  Protest
  Protest Status:
  Informal Date:
  Formal Date:

  Location
  Address:                    MACK WASHINGTON              Mapsco:            1313SUBS
                              HEMPSTEAD, TX 77445
  Neighborhood:               CLEAR CREEK DEVELOPMENT      Map ID:            3771 N1
  Neighborhood CD:            5432500

  Owner
  Name:                       CBT GROUP LLC                Owner ID:          1026384
  Mailing Address:            9200 WESTHEIMER RD APT 1606 % Ownership:        100.0000000000%
                              HOUSTON, TX 77063-3545
                                                           Exemptions:

Values


  (+) Improvement Homesite Value:             +                 $0
  (+) Improvement Non-Homesite Value: +                         $0
  (+) Land Homesite Value:            +                         $0
  (+) Land Non-Homesite Value:                +                 $0     Ag /Timber Use Value
  (+) Agricultural Market Valuation:          +         $1,094,750                   $1,890
  (+) Timber Market Valuation:                +                 $0                        $0


  (.--) Market Value:                                   $1,094,750
  (—) Ag or Timber Use Value Reduction:       —         $1,092,860


  (=) Appraised Value:                        =            $1,890
  (—) HS Cap:                                                   $0

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  (=) Assessed Value;                                                   $1,890

Taxing Jurisdiction

  Owner:              CBT GROUP LLC
  % Ownership: 100.0000000000%
  Total Value;        $1,094,750

     Entity I Description                     Tax Rate   Appraised Value                         Taxable Value     Estimated Tax
    CAD        WALLER CAD                     0.000000                  $1,890                          $1,890             $0.00
    CHD        HEMPSTEAD CITY OF              0.552573                  $1,890                          $1,890            $10.44
    ESD        WALLERHARRIS ESD 200 0.097426                            $1,890                          $1,890             $1.84
    GWA        WALLER COUNTY                  0.522593                  $1,890                          $1,890             $9.88
    RFM        WALLER CO FM                   0.025852                  $1,890                          $1,890             $0.49
    SHD        HEMPSTEAD ISD                  1.136700                  $1,890                          $1,890            $21.48
               Total Tax Rate:                2.335144
                                                                                 Taxes w/Current Exemptions:              $44.13
                                                                                 Taxes w/o Exemptions:                    $44.13


Improvement / Building
  No improvements exist for this property.

Land
                                                                                             Eff      Eff        Market      Prod.
          Type     Description                                  [ Acres      Sqft
                                                                                             Front    Depth      Value     ' Value
          W6       WILDLIFE MGMT (PREY NATIVE PASTURE) 25.1320 1094749.92 0.00                        0.00       $1,094,750 $1,890


Roll Value History
     Year      Improvements          Land Market     Ag Valuation [ Appraised           HS Cap     Assessed
    2023                     N/A              N/A            N/A                 N/A       N/A          N/A
    2022                      $0        $1,094,750          1,890            1,890          $0       $1,890
    2021                      $0        $1,094,750          1,890            1,890          $0       $1,890
    2020                      $0        $1,040,010          1,760            1,760          $0       $1,760
    2019                      $0        $1,007,170          1,760            1,760          $0       $1,760 :
                                                                                                         Av

Deed History - (Last 3 Deed Transactions)
         Deed                                                                                                             Deed
     # !                   Type    Description                  Grantor                Grantee         Volume      Page
       1 Date                                                                                                             Number
    1     3/29/2022        WDV     WARRANTY / VENDOR LIEN       STYERS ODIS III        CRT GROUP                          2203998
                                                                                       LLC


Tax Due
  Property Tax Information as of 12/27/2022
  Amount Due if Paid on:

     Year      Taxing              Taxable       Base I Base        I Base         Discount /        i Attorney      Amount
               Jurisdiction        Value         Tax    Taxes
                                                                  63
                                                                    Tax
                                                                    r              Penalty &         i Fees          Due
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                                                                  Paid         1 Due           Interest
   NOTE: Penalty & Interest accrues every month on the unpaid tax and is added to the balance. Attorney fees may also increase your tax liability If not paid
   by July 1. If you plan to submit payment on a future date, make sure you enter the date and RECALCULATE to obtain the correct total amount due.


                                                    Questions Please Call (979) 921-0060



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